              Case 4:14-cv-00019 Document 23-6 Filed on 09/18/15 in TXSD Page 1 of 203




r">.          1                    APPELLATE COURT NO.

              2              IN THE COURT OF CRIMINAL APPEALS

              3                        OF THE STATE OF TEXAS

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              6      REINALDO DENNES

              7                            Appellant,

              8      VS.

              9      THE STATE OF TEXAS,

             10                            Appellee.

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'r           13      APPEAL FROM 263RD DISTRICT COURT OF HARRIS COUNTY,

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             23                            Sharon Kay Cook
                                       Official Court Reporter
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        ~           I        who, being by me duly sworn, deposed as follows:

              My name is LJQuQt/.9--f         (!~ll am of sound mind, capable of making
        this affidavit, and personally acquainted with the facts herein stated. I am the
        custodian of the records of ABM SECURITY SERVICES. Attached hereto are                g
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I   ~ SERVICES for an employee or representative of ABM SECURITY SERVICES,
        with knowledge of the act, event, condition, opinion or diagnosis, recorded to
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            LIFE, YOU MUST KNOW THE ANSWERS TO THESE IMPORTANT QUESTIONS ...                                                                                                          I
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  • When can you legally shoot an intruder in your home?                                    • Where should you keep your weapon for quick and easy access in                     .•.~. I
  .What are the consequences of using Deadly Force?                                           case of an emergency?                                                                   i
  .What moral issue will you face by using Deadly Force?                                    • What weapon should you use when shooting inside your home?                              i
  • You Confront and secure a intruder in your home, he gives                                  a revolver, a shotgun, or automatic pistol? What kind of ammo, .
    up, what now?                                                                              and what 'caliber?
..•When confronting an intruder at night, should you use a                                  ·What can you do to make your home more secur~? .
    flashlight in conjunction with your weapon?                      0                      • What part do dogs play in home security?        .          .
  • What other less than lethal options do you have against an                              • What should you do if you are carjacked 9r in a not situation?
    intruder? Should you wound him? Physically harm him?                                    • Where can you find professional shooting defense training?                        .".   f



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                  of readily available surplus military rifles          This boOk is destined to be an all-time best     unlikely lhat he can throw a punCh at yo.u
                  to high ilerformance sniper weaP9DS. D.               seller, surpassing those "cookbooks" in its      with a broken wrist or elbOw, and ms
                  Boone!. aescribes and illustrates how to              offerings on explosives and ~losive              ability to advance is substantially inhibited
                  make me conversions us~ simple tools,                 weap'oDS. When you fmish this boOk.. you         by' a busted knee or ankle.That is the
                  methodologies and materials. you will be              will have an understandiJ:tg of explOSIves-      principle of Guge. Gongji: stopping an
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Bored 1 Nothing to do this weekend ?                               Part one teaches solo form- not really a                          PROVEN TECHNIQUES
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                         TECHNIQUES
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                                                            EXPLOSJllES




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. IMPROVISED MUNITIONS BLACK
       BOOK, VOLUME ONE                                    IMPROVISED MUNITIONS BLACK                                                                                    \:
This book was the first in a series produced                   BOOK, VOLUME TWO                                   IMPROVISED MUNITIONS BLACK
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Arsenal in the late 1960's. The goal was to              prepared by Frankford Arsenal and it covers             Until recently, the very existence of the
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Forces personnel could make explosives and               Launcher, Gelled Flame Fuels, Acid Delay                this large, album·sized volume was known to
munitions in the field, using commonly                   Incendiary, Clothespin Time Delay Switch,               only a handful of people in the clandestine
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 covers the construction and propulsion of               (or sodium) nitrite and letharge (lead mono             most effective against armored targets. The
 small rockets which can be fabricated from              oxide), copper sulfate (pentahydrate) and               construction of improvised shaped charges
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                                                LOCKSMITHING MANUALS




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            picks and related tools. Also, included are                                                                                     guard their secreta. The pick gun has taken the



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            instructions on: how to set up a lock for                                                                                       art of lock picking away from a select few and
            practice; why some locks are easier to pick                                                                                     cIemocratized the abililiY to open loc:ks by mechani·
            than others; the use of a pick gun: eledric
            pick guns with some ideas on how you could
            build your own; how to make and use a snap
            pick: how to make and use a set of picks for
                                                                                                             lJ ~forr:.,                    cal means. This book gives an overview of the
                                                                                                                                            meChanical principles of pick guns - how they
                                                                                                                                            work and how to use them - and tTaces the
                                                                                                                                            development of the pick gun from its inception to
            Schlagedisc tumbler locks. :;'hxflll., snftcover,                                                        IIIII~                 today's molutionaty devices. Included are the
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I       i
        I
                                                                                    by trigger action, strikes all the cylinder bottom pins simultaneously. As the force
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II
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                                                                      MARTIAL ARTS

                                  101
                              SUCKER
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                                                          NINJA TBAINING

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                                                                NINJA TRAINING


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                                        ,                            HARASSMENT                                                                  '
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                             Historical Background


          Thanks to Hollywood, there are very few                the sound of the report of actual firearms, in-
     people who aren't at least passingly familiar with          cluding an interesting one patented by J. A.
     silencers and their use. Unfortunately, the silver          DeBrame in 1861. DeBrame's invention sup-
     screen has shown them more misinformation than              posedly produced the same velocity and muzzle
     actual fact.                                                energy as a standard revolver of a given caliber, but
I~        First and foremost, there is no such thing as a        with a reduced powder charge.
     "silencer", to be technically specific. Correct                 Numerous other attempts met with varying
     terminology is "sound moderator" or "sound sup-             degrees of success, but the invention of a truly
     pressor". However, from this point on we will bow           effective silencer had to await the development of
     to popular usage and refer to said devices as               smokeless powder, since black powder residue
     silencers.                                                  would have fouled the silencer's interior very
          Silencers work well in Hollywood, no matter            quickly.
     what their size or the weapon on which they're                  There is an interesting legend that Hiram P.
     used, simply because the script says they work.             Maxim got the idea for the first successul silencer
     A secret agent or undercover cop can attach a               by watching water draining from a bathtub. He
     tiny 2" long silencer to the muzzle of a .44 Mag-           noticed that the water formed a whirlpool as it
     num revolver and go out and blow the bad guys               drained and likened the water to the powder gases
     away with nothing more than a "phut, phut".                 that escape from the muzzle of a gun. Whether the
     That's the way it is in the movies, but in real life        legend is true or not, it is known that Maxim's first
     it just doesn't work that way, especially on a              attempts to build a silencer were based on the
     revolver. The reason for this will be explained in          principle of swirling the powder gases to reduce the
     the chapter on how silencers work.                          noise of the report. Maxim soon discovered that it
         The idea of silencing, or effectively reducing,         wasn't actually necessary to swirl the gases, but
     the sound of a firearm's report actually dates as far       just slow them down.
     back as the 17th Century, if not earlier. Some                  Maxim was issued a patent for his first silencer
     European troops of that time were armed with                in 1908. A perfectionist, he soon improved upon it
     silenced air rifles, which were much more powerful          and brought out his Model 1909, which was
     than the air rifles we know today. These silenced           followed the next year by the Model 1910. The
     air guns were especially popular for sniper use. A          latter became especially popular.
     couple of attempts were even made to produce air                Although he was the son of Sir Hiram S.
     machine guns during the early 1800's, but these are         Maxim, the famed machine gun inventor, Hiram P.
     more notable for their novelty than for their               didn't set out to design a silencer because of his
     success. Several attempts were also made to reduce          interest in guns. His initial concern was in noise


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                                               FIREARM SILENCERS


     reduction, no matter what the cause. Even in the           neighbors. Maxim catalogs invariably contained
     pre-World War I era he foresaw noise pollution             photographs of well dressed men and women
     eventually becoming a serious health hazard. The           spending a pleasant afternoon shooting at the local
     Maxim Silencer Company began manufacturing                 range or engaged in informal trap shooting with
     outboard motor silencers and industrial silencers in       smoothbore rimfire rifles on the front lawn.
     the early 1920's, and ceased producing firearm                  Maxim also emphasized the practical applica-
     silencers in 1925.                                         tion of silencers to hunting arms as both a noise
         Early advertisements for Maxim silencers gave          and recoil reducer. In one of his catalogs he related
     no hint of the nefarious or covert use to which            the story of how he and some friends went shooting
     silencers would later be put. The emphasis 'Was on         with their Springfield M1903 rifles which were
     reduced noise for plinking in an indoor basement           equipped with Maxim silencers. Maxim's 9 year old
     range or in the back yard without disturbing the           son went along and was allowed to fire his father's
                                                                rifle. Ordinarily, it would be downright sadistic to
                                                                allow a child of that age to fire a rifle with the
                                                                recoil of a .30-06, but young Hamilton Maxim sur-
                                                                prised everyone by asking if he could fire it again,
                                                                then again, etc. The silencer reduced the weapon's
                                                                recoil to the point where the child hardly noticed
                                                                it, and he was able to place his second shot in the
                                                                bullseye.
                                                                     Although Maxim silencers hardly took the
                                                                world by storm, they still enjoyed a commercial
                                                                success which prompted other inventors to try to
                                                                develop and market silencers which wouldn't violate
I
                                                                Maxim's patent. Robert A. Moore of Chicago was
                                                                granted his first silencer patent in 1910. Moore's

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                                                                silencer featured a gas tube under the barrel. Upon
                                                                firing, the bullet would push the baffles that were
                                                                placed in front of the muzzle out of the way and
                                                                pass beyond, then the baffles would drop back into
                                                                place and force the expanding gases down into the
                                                                chambers of the gas tube. Moore's first model
                                                                never got past the prototype stage; but it was an
                                                                interesting concept nevertheless. Moore's second
                                                                design actually went into small scale production
                                                                and he was able to sell 100 to the U.S. Army for
                                                                field testing. Lack of further orders was not so
                                                                much an indictment of Moore's product as a
                                                                change in Ariny policy - they simply decided that
                                                                silencers were't practical in battle since they
                                                                wanted the enemy to know he was being shot at.
                                                                Their reasoning was that if a man knows he is un-
                                                                der fire, he will be a much less effective adversary.
                                                                     The Maxim silencer did, however, go to war in
                                                                Mexico where a number of federal troops were
                                                                armed with silenced rifles. Mexican officers re-
                                                                ported that those soldiers so armed were generally
                                                                more effective in battle than those armed with
                                                                normal, unsilenced rifles. Part of the reason, they
                                                                said, was because of the reduced report and recoil
                                                                of the silenced weapons. They simply caused less
     Covers of early Maxim catalogs always emphasized           stress physically and mentally than standard issue
     silencers' recreational use, whether for hunting or        arms. It was also reported that units armed with
     for informal plinking.                                     silenced rifles could hear officers' commands while


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     firing. Those armed with conventional weapons                                                                            PRICE LIST

     could not.
          When Gen. John J. Pershing led American
     troops into Mexico in 1915 in search of Pancho                                                      .22 Cal.            Silencer and Coupling.
     Villa, he took along 15 snipers armed with silenced         of lh~:~~~i)!~I.I~ drin.'s light till l'lul flf ":11'1'1'1.              Silt'IH'1'r ;.ttad1('~ or dl'l:u'hl'S by single twist
                                                                  Dilll.(,Il!'iiull!' ill!cl pri,'j' illchldi,.:L.! L"lJpllO~. :'\I"d.·, PIJ'.!. 1 III. '\ PI ill .. wL 5 H7.., $;-,.00.
     Springfields. So far as is known, this was the first           .",III·n (lr(It:~I.II§.!,."'I:I.lt· :\1.\1,1-; :11111 \ICII)1-:1. "C nIl!· III I", lillt'd. :1IIc1 wh('lh('r harrel is
                                                                 BOl ~ I> !lr OC 1.\( ,I ,:\. ,.." \\'" ,',Iii "lIl'jll~ [I I"IIJ 11"1 :-IZt' ,'ulIl'llII!-!.
     time in history that the military had used silencers
     for sniping. However, it certainly wasn't the last.
     The Germans nicknamed silenced Allied sniper
     rifles "Whispering Death" during World War                                                                .25-20 Silencer and Coupling.
                                                                 of th~?~\U~t!~I.lg dri,',·:-; ti.L:lit Ill!   !'IIl!   "I' 11;I/·n·1.   :-;ilt-nn'r :lIlad.~~      IIr    IId,lt·ht·s by single tWlsl
     1. Before the end of the war, German snipers were              Dilllt'lI!"illTls :11111 Prin IlIdllflll;~ (:"111'11I1C. ~11.dd I~IJ:.!. I in. x ,-,~", in .• wt. 7 oz" 57.00.
     also using silenced rifles.
          Although numerous inventors patented silencers
     and tried to manufacture and market them, Maxim
     had only two serious competitors in the United
                                                                                                           .32-20 Silencer and Coupling.
     States. One was the old New England arms firm of           of Ih~:~~:!~I.I~ drin's tij.!hl 1111 l'l,d "f h:lrn'l.                   :-;tl~'IH"N alt;u'h('s or dl.,tul'ht'!" lIy single twisl
     Hopkins and Allen and the other was the prestig-               nillU'lI~inlls   and Pri!'t, inl'lililill}.! C"III'IIIII-!, ),llltlt" 1!1t1!1. 1 H in. x ti~.i in ..            \\1.   12 OZ., $7.00.

     ious British manufacturer, Parker-Hale. They were
     the Big Three of silencers back in the days when
     you could walk into the local hardware store and                  .22 H, P. Silencer and Clamp Type Coupling for Savage H. P .. 22 cal. rlne.
     buy right off the shelf, or have them order for you,             (:Otll.}lill!-! Im'ks till 1!:IHt'llly ni",jl\~ Ilf
                                                                sin~lt· 1WI:-I IIf Wrlsi.
                                                                                                                                   I,wkili/-! I'!:tllill.   :-;ill'lln'r   :111:lI'hl'~ Ill'   d.,t:ll'hes by
                                                                  f)iIlH.'nsiHns :11111 Pri.'I· indllllinc: (:'llIpllll!-!, :\llIti(" 1~11:!. I in. '1,. '-13~ Ill., \\1. ; Ill., 58.50.
     a full auto Thompson and a silencer for it, no ques-                           Prll'l'. Sill'lln'r .. niy ~1;.tllI.          I'rit"" C""pirllg "I!I~ S'.!.:.tI.
                                                                All c'alibrcs larw'r than :d'II\'l' l:iI,l' ~,IIl1t' jlfll',', S!I ..',II \\Jlh t'UUpitll!o! ;lIlt! S';'.Olh\itliullt l'(lupliDg
     tions asked. Of course, if you lived in New York or
     Chicago and wanted a single shot .22 pistol, you
     had to first get a permit for it. Gun controls were
     already beginning.                                                          High Power Silencer and Clamp Type Coupling.                                         Any Calibre.
          Following World War I, America enjoyed a                     Fflr rifl.·s ha\."ill~ fmnt si~hl )Ollll'~TE)) l-PO:'\ H.\SE holll 111110 !tarn'l. Sil"ncer
                                                                atl'lI'lH's :iIId cld:H'ht'!'> hy singlt' t \~ I~t (If I ht' \\ ri"t. Full It'IIl.!1 h m:IL!:I1.ill(· 1IH1~1 ht' shortened
     period of unprecedented prosperity. The Roaring            10 IIwke r01l1llfor <'oupling.                                            .          -
                                                                Oinwllsiulls lind Prit'(' illl'luding C:"lqolllll.!, :\11It!,·1 1~ln~l, 11K in. 'I, ,i I~ in .. wI. I:.!                        117.., S~I,50_
     Twenties were at hand, and they were especially                              Pri('{", Sih'lU't'r nnly :S7.1I11.       I'ri(','. Cuupilng t'lIly S:.!.;JO,




                                                                             _'h~
     prosperous for bootleggers and speak-easy owners
     who made a fortune off illicit booze. With the easy
     money to be made, it wasn't any wonder that
                                                                                 High' Power Silencer and Sight Type Coupling, Any Calibre.
     every gang that was big enough to have a territory               For rill('s having frunt si~ht !H)\'I-:TA!J.EI> L'\T.() B.\/{HEL CUllplin~ drins ti~hl
                                                                nn ('IICI f)f J.:1I11 harn'l after rl'IllIl\·III).! frlllll !"Ight frlllll nIh,. Sdl'!lI"t'r :ltI:U'ht,~ and d(.t;l(·hf's
     also wanted the territory next door. The most              hy singlt' twist of the wrist. Full It'nglh IIl:1g;l1.in;:o 11111 .. 1 III' :-.h .. rI"lh'd til IIl:1kt, fOum for
                                                                cuupling.
     famous gang rivals were the Capone and Moran               Dil11l'llsions ;lIId Prin' including <:'1\;1,11111-1, )Oloell'l              1~1(1~), I ~.~ III.' I,J 4 in .. wI. I:.! 07..,59.;)0,
                                                                                      Pril'l', Sil('rH'I'1" "lll.1 ;;';'.Ihl.            /'nn'. COIlIl'lln.!.! "nh S:..!.:IO,
     mobs of Chicago. The ultimate gangland slaying,
     the St. Valentine's Day Massacre, was engineered           Page from an early Maxim catalog shows the wide
     by Al Capone to eliminate Bugs Moran. The "hit"            range of Model 1910 silencers offered. This model
     in a South Side garage successfully eliminated seven       is easily recognizable since the bullet's path is
     members of Moran's gang, but the leader himself            offset from the actual centerline of the silencer.
     showed a complete lack of courtesy by being late           This was done purposely to allow the use of the
     for his execution. Hearing shots as he approached          weapon's original sights. If you think the prices
     the garage on foot, Moran simply turned around             shown are super cheap, just remember that $100
     and walked in the opposite direction. Such execu-          per month was considered a good wage in those
     tion type slayings helped to give the Thompson             days.
     submachine gun a tarnished reputation, but equally
     bad times for silencers would come in the 1930's.
          With the repeal of prohibition in 1933, the                The face of crime changed with the Depression
     huge profits from alcohol smuggling, bootlegging,          of the 1930's. "Name" criminals of the 1920's had
     moonshining, etc., vanished. The mobs had to turn          been men like Al Capone and Bugs Moran, all men
     to other ways of making money. Although gambling,          with large, well financed and well run organizations.
.~   prostitution and loan sharking were where the easy         But with hard times, better roads, faster cars and
     money was, many Mafia hoods also turned to                 still fairly poor communications among police
I    legitimate amd quasi-legitimate businesses as well.        forces, the "name" criminals of the 1930's were


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          the bank robbers. To many out of work Americans           The military needed them for sniping and other
          who had lost their homes or farms to the bank, the        normal combat tasks as well as for covert opera-
         idea of someone being able to strike back at the           tions by the O.S.S., the military intelligence
          bank and hit it where it hurt - in the vault - had        organization which was the forerunner of the
         a certain perverse appeal. The public almost made          present, non-military C.I.A. A number of interesting
         folk heroes out of the more famous gang leaders            silenced weapons were developed for the O.S.S.
         such as John Dillinger.                                    and these will be discussed in the next chapter. As
              The Thompson already had a bad image from             far as normal combat operations by troops actually
         the 1920's, and that image wasn't enhanced any             in the field, the Springfield M1903A3 equipped
         when some of the gangs began using automatic               with a silencer served well as a sniper rifle. Other
         weapons. One of John Dillinger's cohorts was               silenced weapons included the Thompson MIA1
          Baby Face Nelson, who was a born tinkerer. Not            and the M3 "Greasegun". The silencer for the latter
         only did Baby Face convert a Colt .45 auto to              was assembled by High Standard on perforated
         full auto, but he also made up some silencers for         llarrels made by the Guide Lamp Division Of
         the gang's use. As more and more exotic weaponry           General Motors. Although this silencer was designed
         (which was perfectly legal to own at the time)             by Bell Laboratories, it bore a remarkable similarity
         turned up in the hands of the gangsters, there was         to the integral silencer on the High Standard HD.
         a growing trend to outlaw such weapons. Further                In some instances, silenced weapons were car-
         outrage was expressed that hungry people were              ried not to be used, but as a precaution if a weapon
         actually using silencers for poaching!                     had to be used. In October 1942, a group of men
              Congress attacked the crime problem in the           dressed in ragged civilian clothes emerged from a
         same manner in which it had attacked the drinking          submarine just off the coast of occupied France and
         problem years before. Even though Prohibition had          proceeded to land in a rubber dinghy. The group
         been proven unworkable and had been repealed,              was armed with three silenced Sten submachine
         Congress attempted to fight crime by prohibiting          guns and each man carried a silenced pistol as well.
         the manufacture, transfer or possession of certain         They were on what could very well have become a
  'I~    devices. The National Firearms Act of 1934 placed
         a $200 tax, plus a lot of bureaucratic red tape,
                                                                    suicide mission if they had run into a German
                                                                   patrol, for they were destined to meet with free
         upon the manufacture or transfer of automatic              French leaders to discuss the impending invasion of
         weapons, silencers, sawed off rifles and shotguns          North Africa. Leader of the group was none other
         and other assorted goodies. People who already            than Major General Mark Clark. Since the party
         owned said devices were given a certain period of         made it back out of France, one can only assume
         grace in which to register them without paying the        that the silenced weapons weren't needed or else
         tax. After that time, it was a possible long prison       were used with a great deal of success. The latter
         sentence and heavy fine for having them in your           possibility is more glamorous, but the former is
         possession.                                               probably the actual fact.
             As could be expected, honest people registered             Early in the war, Maxim Silencer Company
        their silencers, machine guns, sawed off shotguns          president Hamilton Maxim was visited by repre-
        and other "forbidden" weapons, but the hoods               sentatives of the O.S.S. who wanted the company
        didn't. The machine gun toting bank robbers did            to resume production of firearm silencers, which
        vanish from the scene, but not because of the NF A         they had abandoned in 1925. The Maxim staff
        of 1934. They were simply killed in shootouts with         designed and made a sample rifle silencer that met
        police or went to prison. In fact, the last of the         the specifications the O.S.S. men had outlined.
        machine gun bandits to go out in a hail of lead, Ma        It was demonstrated favorably to top military brass
        Barker, was killed in January 1935, just months af-        in Washington, but Maxim never received a produc-
        ter the passage of the NF A.                               tion contract and all of the silencers legally made
             With silencers no longer available at the local       for the war effort in the United States were manu-
        hardware store and the transfer tax equal to more          factured by other firms.
        than a month's pay for most people, it's under-                  As is to be expected in wartime, a rather large
        standable that the legitimate market for them died          number of silenced weapons simply disappeared.
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        almost overnight.
             After the United States entered World War II in
                                                                    Some were undoubtedly destroyed or honestly
                                                                    lost in battle, but others were obviously stolen
        1941, there was suddenly a resurgence in the de-            and secreted away for later use by future terrorists,
        mand for silencers to be used by the "good guys".           revolutionaries and other assorted characters of


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     doubtful reputation. A few may very well have                hit man for the Mafia, currently the prime user of
     been misappropriated by average GI's who just                silencers in the U.S.
     wanted a really unusual souvenir from the war.                   The days of machine gun slayings in garages or
          When World War II ended, it didn't necessarily          messy hits with a sawed off shotgun in a crowded
     bring peace to the world. Fighting continued in              restaurant or drugstore have gone the way of the
     a Southeast Asian country then known as French               Edsel and black and white TV. Today, mob leaders
     Indochina. Soldiers of fortune fighting in the French        are conscious of the need to keep as clean a public
      Foreign Legion liked two American World War II             image as possible. Gangland executions are usually
     "left-overs" that were fairly common in the area-           carried out with a silenced .22 pistol. Those who
     the M3Al "Greasegun" and the High Standard HD.               would argue that the .22 lacks the stopping power
     When the Communists finally defeated the French             of a .357 Magnum or .45 ACP have obviously never
     in 1954, French Indochina was divided into three            seen anyone who has taken a half dozen .22 Long
     nations. The name of the largest of these remained           Rifle slugs in the back of the head. A quiet, clean
     virtually unknown to most Americans until a decade          hit and no one knows anything has even happened
     later when it became a household word - Vietnam.            until the body is found under a stairwell, in an
          The average person at home heard little or             alley or under a bridge that spans a dry wash.
     nothing about the use of silenced weapons in the            Sometimes the body is never found. To the mob,
     Vietnam War, but they were used quite extensively           silence is truly golden. It usually means a clean
     since they were ideally suited for the type of jungle       getaway and a police report that reads ". . . sus-
     warfare that occurred in Vietnam. Viet Cong ad-             pect foul play, assailant unknown."
     vance scouts could be taken out of action without                Needless to say, numerous illegal silencer fac-
     alerting the main party, or a sniper could pick off         tories have sprung up in various parts of the country
     a small group without being detected by shooting            in recent years. It's the old law of supply and de-
     the rearmost man first, then moving his shots on            mand at work. There is a strong demand for
     up the line to the front.                                   silencers, sO for the right price someone will
          The ubiqujtous Ruger 10/22 was a popular               supply. The BATF shuts these factories down as
I~   silenced "hit" weapon in Vietnam as it was ex-
     tremely quiet when subsonic ammunition was used
                                                                 quickly as they can locate them, but in the mean-
                                                                 time their wares flow into the black market with a
     in it. Standard M14 and M16 rifles were also                really effective homemade silencer bringing as
     equipped with silencers for special missions, as well       much as $900. At this writing, an equally effective
     as Remington Model 700 sniper rifles. The stand-            silencer purchased legally in a European country
     ard issue sidearm for Navy SEAL team members                that allows them would probably sell for $15-20.
     was a modified Smith & Wesson Model 39 fitted               Surprisingly, some European countries which have
     with a silencer. Among the most successful silencer         rather stringent requirements for handgun owner-
     designs employed in Vietnam were the Scionics               ship just don't make that big a fuss over someone
     units designed by Gen. Mitchell WerBell.                    wanting a silencer. Apparently the official theory is
          As the Vietnam War wound down, American                that if you have already qualified for handgun
     GI's began returning home to face readjustment to           ownership, there is certainly no reason why you
     civilian life. Some of them had become so used to           shouldn't own a silencer too. One can well under-
     the tension of a combat zone that they literally            stand such thinking, since most of these countries
     craved the stress under which they had been living.         are densely populated, thus are extremely noise
     Assembling cars in Detroit or selling life insurance        conscious. It would undoubtedly please Hiram P.
     in Scranton simply had no appeal for them. A                Maxim to know that somewhere in the world the
     number of Vietnam era pilots decided to return to           government bureaucrats actually understand what
     the air - flying illegal drugs into the U.S. At least       silencers ·were all about in the first place - reducing
     one ex-Marine sniper is known to have become a              noise pollution.




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                         Clandestine Silencers


    Although silencers are widely used by profes-            likely have used a more subtle approach, such as
sional assassins as detailed in the preceding chapter,       poison.
they are probably used to an even greater extent                  Although silenced pistols might well have been
by covert agents - in other words, spies and coun-           used by intelligence operatives during World War I,
terspies.                                                    they really came into their own in World War II.
    It's doubtful if there has yet been a James              Their clandestine use wasn't limited to spies, but
Bond movie where there wasn't at least one assassi-          also included resistant groups in occupied Europe
nation, or attempt at one, with a silenced handgun.          and guerrillas in Asia and the Pacific.
This is a very real fact of life in the shadowy world             Silenced weapons for covert operations were of
of covert operations, although normally the East             two types: standard production arms which were
and the West don't go around killing off each                fitted with silencers· or adapted to include an
other's superspies. The fact of the matter is that to        integral silencer, and special weapons specifically
do so would invite retaliation in kind, and really           designed for covert use.
good superspies just aren't pounding the pavement                 Pre-existing weapons which were altered to
looking for work, unless that happens to be part of          include an integral silencer were the Colt Woods-
their cover. From a purely practical point of view,          man, High Standard HD Military, MIAI Thomp-
espionage agents of the upper echelon take a lot of          son, M3Al "Greasegun" and Ml Carbine. Please
time and money to train. No, it's usually the smaller        note that the use of the term "integral" here
fry who are eliminated, either as a warning that the         doesn't mean that the silencers couldn't be removed.
other side is getting too close to something or              It simply means that the weapons were meant to
someone or simply to prevent the spy from learn-             be carried and fired with the silencer in place, as
ing something or from passing on what he has al-             opposed to just attaching a silencer to a normal
ready learned.                                               weapon for a special assignment.
    A case in point is the bombing of the American                Among those weapons that were specifically
embassy in Beirut in the spring of 1983. One of the          designed for clandestine use during World War II
CIA's top agents was killed, along with numerous             we find the Liberator, the Welrod and the fist gun.
other people. While the bombing might have been              They seem like oddities today, but each was
engineered by the KGB, it's more than likely that            designed for a specific task which it executed (no
it was done by a group of terrorists. One such               pun intended) rather well. Since these guns are less
group has already claimed credit for the foul deed,          known to most people and are far more interesting
but they may just be seeking publicity with their            than those which were merely adapted to take an
claim. If the KGB or the Red Chinese had wanted              integral silencer, we will devote our attention to
to eliminate the American agent, they would most             them first.


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           The idea for the Liberator first came about in         was making a yoke lever, etc. Since the barrel was a
      1942 when the Polish Resistance requested arms              smoothbore, there was no telltale rifling which
      with which to fight the Germans that occupied               would have immediately told the "tube" maker
      their homeland. The American Joint Chiefs Of                what it actually was.
      Staff decided that a low cost, concealable, untrace-            The Liberator, which was officially known
      able weapon would be an ideal choice to supply to           as the F.P. 45 until after the war, was packaged in
      civilians behind enemy lines.                               a cardboard box with 10 rounds of .45 ACP
          The weapon would act as a morale booster for            ammo, a wooden ramrod for ejecting spent car-
      the citizens of occupied countries and would also           tridge cases and a sheet of comic strip instructions
      serve to sabotage the morale of the enemy. Any              with virtually no written instructions. That solved
      student of history knows that one of the first things       the potential language barrier or illiteracy problems
      a dictator does when his troops occupy another              before they could occur.
      country is to disarm the conquered people. Hitler
      was no exception. If the Americans could get guns




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      into the hands of resistance groups, it would give
      them a chance to kill German soldiers and take
      their weapons as well. It would take only a few
      such incidents to make any German soldier leery
      of every civilian he encountered in an occupied
      country.
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                                                                  Artist's conception for a Liberator with an impro-
                                                                  vised silencer, in this case using an aerosol spray
                                                                  can for the housing. Obviously, numerous other
                                                                  possibilities for improvised silencers exist.

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                                                                      The Liberator cost $1. 72 per unit to produce,
                                                                  and the entire package, ready to drop behind
                                                                  enemy lines, cost $2.10.
                                                                      While the basic design was a single shot with
                                                                  ammo storage in the grip, a two shot version of the
                                                                  Liberator was also made. This had a sliding breech
                                                                  that was slid from side to side to align either
                                                                  chamber with the barrel. Silenced versions of the
                                                                  Liberator are also known to exist, and some have
                       F.P. 45 Liberator                          been encountered which have been fitted with
                                                                  homemade silencers.
          Since its role ideally was to fire only one shot,           Only a few Liberators were smuggled into oc-
      the Liberator was spot-welded and riveted together          cupied Europe, but a good many were sent to Asia
      and no attention was given to overall finish. The           and the Phillipines, where they were known as the
      goal was to produce a large number of the weapons           "kangaroo gun" since they were smuggled into the
      as quickly and cheaply as possible. The Chief of            islands by Australian submarines. For some time
      Military Intelligence requested that 1,000,000 of           after World War II the Liberator served as the
      the guns be made for distribution behind enemy              standard sidearm of the Phillipine Constabulary.
      lines in May 1942, and the guns were completed              Today Liberators are a prized collector's item,
      by the fall of that year. The project was so secret         especially if accompanied by the original box and
      that only the people who did the final assembly             ammunition, instruction sheet, etc.
      had any idea what they were working on. Blue-                   In addition to the silenced versions already
      prints were purposely mislabeled so the person              mentioned, the standard Liberator was capable of
      who made the trigger guard thought he was making            being used as a silent weapon with a James Bond
      a spanner, the one who made the sear thought he             device known as a "Bigot". This was a silent


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dart which could be fired from any .45 ACP pistol
which had been fitted with a special adapter.
Unfortunately, the Bigot wasn't ready for produc-
tion until after the end of the war, so never.  real-
ized its true potential. Its very existence remained
classified until 1977 .




                                                              Lat~ model 9m":, Welrod ~ith the magazine only
                                                              servmg as the gnp. The tngger guard is also non-
First model WeI rod was in .32 ACP. Note that this            standard.;
was a true bolt action.
                                                              West don't go around killing each other's super-
      Unlike the Liberator, the Welrod was designed           spies. That's in peacetime, of course. The rules are
 as a silenced pistol from the start. It was a manually       a bit different in wartime. You have only two
 operated repeater and examples have been seen in             choices if you catch one of the enemy's master
 .22 Long Rifle, .32 ACP, 9mm Parabellum and .45              spies: recruit him into being a double (or even
 ACP calibers. The .32 and .45 versions were manu-            triple) agent, or cancel his birth certificate. One
 factured so as to accept standard Colt magazines.            can't help but wonder how many threats to Allied
 Although most Welrods had a slip-on grip that                security were eliminated by Welrods, whether on
 covered the magazines, a few exist where the maga-           neutral ground, in enemy territory, or on the home
 zine itself serves as the grip.                              front.
     The action is of the basic Mauser bolt type. In               The" fist gun, as it's called on its patent issued
fact, the first model Welrod actually utilized a bolt         July 8, 1947, could also be called a glove pistol
i;o open and the close the action. But by the time
                                                              since it's just that - a rather strange looking pistol
the Mark I went into production, a simpler knurled            attached to the back of a glove.
knob had been substituted for it.                                  Although well suited to an assassin's use, the
     The integral silencer contained the usual baffles        fist gun was originally designed to be worn by non-
plus a self-closing rubber baffle. Holes were drilled
in the barrel to b.1eed off gas.
     With a properly constructed silencer, a pistol
of the Welrod's type action in subsonic .32 ACP or
.45 ACP would be about as ideal as a close range
assassination weapon could be since the report of
the weapon would be effectively muffled and the
bullet's crack is non-existent. An assassin armed
with such a gun would have more to worry about
being seen than being heard, especially in a noisy
place such as a train station, etc. Whatever· sound
the pistol might make would easily be disguised by
the hubbub of background noise. With the action
being opened and closed manually, the assassin
wouldn't even have to worry about leaving any tell-
tale brass!
     How many Welrods were made and the vari-
ous theaters of war in which they were employed
isn't known, but one could probably safely assume
that they were used far more often in Europe than             ~fficeof Naval I ntelligence's fist gun was originally
in the China-Burma-India Theater or in the Pacific.           mtended for 410 shotgun shell, but production
We had mentioned earlier .that the East and the               models were made only in .38 S&W caliber.



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           combatants who happened to be dose enough to
           the front to be in danger of having their position
                                                                        demonstrate to President Franklin Delano Roose-
                                                                        velt. FDR was dictating to his secretary when
     \     overrun. Supply truck drivers, communications                Donovan entered the room, so the general set a

,   il     personnel, etc., would fall into this category.
                To fire the fist gun, the wearer merely doubled
           up his fist, folding his fingers out of the way and
           exposing the muzzle and plunger, then pressed the
                                                                        sandbag in one comer of "the room and, with his
                                                                        back to the president, calmly emptied the pistol's
                                                                        magazine into the sandbag. Neither "the president.
                                                                        nor the secretary noticed the sound of the shots
           device against the victim's body. The plunger would          and Gen. Donovan turned and handed the pistol
           move to the rear, dropping the hammer against                to the Commander In Chief, explaining what he
           the firing pin. If the gun was pressed against the           had just done. Roosevelt was so pleased with the
           soft areas of the stomach, sides or low back, the            new weapon that he immediately had it placed on
           flesh would fold over the muzzle and effectively             public display at the Roosevelt Museum in Hyde
           silence the sound of the shot.                               Park. It was only a few days before someone at the
                Originally designed for a AIOshotshell, the             museum realized there was a serious breach of
           fist gun was actually produced in .38 S&W caliber,           security by displaying the weapon, which was actu-
           which would seem to be a rather poor choice.                 ally top secret, and removed it.from its display case.
           However, the manufacturer may have selected that
           caliber over the more effective .38 Special due to a
           difference in chamber pressures, etc.
                The fist gun was in production for only a short
           time after the war. ·It was never destined to be a
           huge success due to its very limited range of
           applications. Still, it probably deserved a little
           more positive attention than it actually got.



                                                         I
                                                                        Grs bleed holes in HO's barrel are clearly shown
                                                                        in this photo. Note that the barrel is much thinner
                                                                        than a standard .22 pistol barrel.

                                                                             The second model HD, which has been manu-
                                                                        factured in unspecified numbers for the C.I.A., has
'Iil                                                                    a special barrel of minimum acceptable wall thick-
                                                                        ness with four rows of eleven holes each. The barrel
                                                                        is then wrapped in bronze screen. A hollow housing
: j        O.S.S. High Standard HO Military with silencer
     'I'                                                                is screwed on over the barrel. The front of the
.   '~
           removed to show bronze screen around barrel.                 housing, forward of the barrel, is filled with washers
                                                                        constructed of stamped bronze screen. Since
               The High Standard HD Military pistol in .22              the perforations in the barrel bleed off expanding
           Long Rifle was reportedly made in two silenced               gases, standard high velocity .22 cartridges can be
           versions. The first was made for the O.S.S. during           used in the weapon. Famed U2 pilot Frances Gary
           World War II and had four rows of eight holes                Powers had a silenced HD in his possesssion when
           each drilled in the barrel with copper screen washers        his plane was shot down over the Soviet· Union.
           for baffles. This piStol was extremely quiet. Just           Powers evidently realized the futility of trying to
           how effective the silencer was can be readily seen           escape from the Soviets and chose to let himself
           from an incident that happened early in the war.             be captured rather than commit suicide with his
           Gen. William "Wild Bill" Donovan, head of the                issue HD or cyanide pills. He probably also realized
           O.S.S., took a sample pistol to the White House to           that he would be valuable "trading material" for


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        the Soviets, who imprisoned him for a short time,
        then exchanged him for one of their own spies who
        was in custody in the U.S. Powers died several
        years after his return to the U.S. when the TV
        news helicopter he was piloting crashed.
            The O.S.S. also used a number of Colt Woods-
        man pistols in .22 Long Rifle during the war. The
        specimen illustrated is rather unusual in that it has
        an eccentric silencer, which allows for a larger
        capacity expansion chamber while r-etaining the
        original sight plane. It also had a barrel extension
        beyond the silencer, which is extremely unusual.


                                                                     M3A 1 "Greasegun" fitted with a 12" silencer. A
                                                                     20" silencer is shown below. While the O.S.S. used
                                                                     silenced M3's, they were rejected by the Infantry
                                                                     Board which could find no real need for them.
                                                                     combat. As mentioned earlier, the M3Al silencers
                                                                     were manufactured by High Standard and fit over
                                                                     specially perforated barrels made by the Guide
                                                                     Lamp Division Of General Motors.
                                                                         What would appear to be a barrel extension on
                                                                     the M3Al silencer is actually a second silencer

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                                                                                                              Of.

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                  u.~.'wv ... T·WOODSMAN.CAL.2                       Parts of the "Greasegun" silencer below 2 ft. scale
                         WITH SJLENCER                               to show relative size. The parts are:
                                                                         A. Perforated barrel made by Guide Lamp
                                                                             Division of General Motors.
                                                                         B. Wire mesh cylinder which slips over the
        O.S.S. Colt Woodsman sporting a rather unusual                       perforated barrel.
        silencer. Its eccentricity isn't unusual (note the               C. Large metal tube which fits over the mesh
        Model 1910 Maxim directly above it), but the bar-                    cylinder.
I       rel extension beyond the silencer is. (Photo courtesy            D. Bushing adapter which screws onto the end
        of Gun Digest)                                                       of the barrel and into which the small tube
I
                                                                             is screwed.
             A small number of MlAl Thompsons were also                  E. Wire mesh washers which are contained in

If'",
        fitted with silencers for special purposes, but these
        were overshadowed by the more prev~ent M3Al
        silenced "Greasegun" SMG's which were much
                                                                             the small tube (230 are used).
                                                                         F. End cap which holds the washers in the
                                                                             small tube.
        cheaper to produce yet were just as effective in                 G. Small tube itself.


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      tube which contained over 200 screen washers. The
      larger tube, which fit over the barrel, contained a
      roll of bronze or aluminum screen. This silencer
      was, like the weapon it served, cheap to produce
      yet effective. It's estimated that the sound of the
      report was reduced by as much as 80% with this
      silencer. Since the .45 ACP cartridge is subsonic,
      there was no bullet crack to worry about.
           Component parts for the "Greasegun" silencer
      are shown in the photo at the bottom of page 11.
      Functioning was similar to that of the High Stand-
      ard HD.
          At least one example of a professionally modi-
      fied M1 Carbine is known to date from the World            M1 Carbine with silencer removed and disassembled
      War II era. Its barrel has been shortened and the          for display purposes. Note lack of gas bleed holes
      silencer housing extends roughly 10" beyond the            in the barrel even though the .30 Carbine cartridge
                                                                 is supersonic. (Photo courtesy of Gun Digest)
      muzzle. Although the .30 Carbine cartridge is
      supersonic, there are no bleed holes in the barrel.
          The silencer itself consists of two chambers,          and there was an ample supply of wartime hard-
      with a perforated bushing around the end of the            ware on hand to fill our government's needs. When
      barrel which allows gas to flow from the front             viewed in a purely logical, businesslike manner,
      chamber into the rear, which contains 10 baffles.          there simply wasn't enough demand for improved
      An unspecified number of baffles are also housed           silencers to make their development profitable.
      in the front chamber. It's reported that the action            The picture began to change in the 1960's,
      has to be worked manually since the carbine's gas          however. America was again at war in Asia, this
      system is rendered inoperative by the short barrel.        time in Vietnam. Ordnance genius Gen. Mitchell
      Whether this is true or not, a manually operated           WerBell began to explore the possibilities for
      action is desirable on a silenced weapon, which is         improvements in silencer design with notable suc-
      obviously intended for specialized use rather than         cess. Manufactured under the trade name Sionics,
      for engaging in firefights.                                a number of his silencers saw action in Vietnam.
           Following the war, silencer development in the        The weapons on which they were used were dis-
      U.S. stagnated somewhat. This is understandable,           cussed in the preceding chapter and need no further
      since silenced weapons don't wear out overnight            elaboration here.
                                                                     Although silencers are generally thought of as
                                                                 tools for snipers, spies and assassins, there is a grow-
                                                                 ing market for them among the general population.
                                                                 Inflation has placed the $200 transfer tax within
                                                                 the realm of afford ability for many honest people
                                                                 who have a legitimate use for silencers. These in-
!I                                                               clude farmers and ranchers who want to keep the
I                                                                critter population under control without disturbing
1;1                                                              the livestock and urban dwellers who would like to
:                                                                be able to keep their shooting skills well honed
                                                                 with a little smallbore practice in the basement.
                                                                 There are presently several· small firms manufac-
                                                                 turing silencers aimed at this market. One of the
                                                                 better known is Automatic Weapons Company.
      Professionally modified M 1 Carbine with integral          Their silencer for the Ruger ST pistol is based on
      silencer is believed to have been made for the             the original model built by the now defunct Military
      O.S.S., although little is known about it. The             Armament Corporation, but with one major dif-
      weapon itself was made by the Inland Division of           ference. The MAC silencer was designed for clan-
      General Motors, which made untold thousands of             destine use and couldn't be taken apart for clean-
      M1's and M2's during the war. (Photo courtesy of           ing and repacking, since it was considered expend-
      Gun Digest)                                                able after 200 or so rounds. This is acceptable for


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      a government agency that is spending the taxpayers'             Easily serviceable silencers like the Awe designs
      money for a replacement and which doesn't have             would be a boon to the clandestine operator as
      to pay the transfer tax, but is a burden on the            well, since he seldom has a friendly neighborhood
      ordinary citizen who is spending his own money             armorer living next door and must repair and main-
      and only wants to pay the tax once. The AWe                tain his weapons himself, should they need it.
      silencer can be taken apart for periodic servicing         Sophisticated surveillance devices now make it
      and the repacking materials consist of such com-           possible to spy on the world from a satelllite. But
      mon items as Chore Girl cleaning pads, aluminum            like the infantryman with a rifle in the age of nuc-
      screen, fiberglass, etc., which can be purchased at        lear missiles, the spy with the silenced pistol will
      the local supermarket and building supply store.           still be around for a long, long time.




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                                     How Silencers Work


              As was stated in the first chapter, there is really        powder gases from the barrel. This is also known as
         no such thing as an actual silencer. What people                muzzle blast, and makes up the majority of the
         call "silencers" are actually sound moderators or               sound we hear when an unsuppressed weapon is
         suppressors. They merely alter or reduce the sound              fired.
         of a weapon's report, they don't eliminate it al-                    The fourth source of sound is blow-by, which
         together.                                                       can only occur in suppressed weapons. Since the
              What is sound? Reduced to its simplest ex-                 holes in the baffles which the bullet travels through
         planation, sound is merely air in motion. This                  must of necessity be larger in diameter than the
         causes changes in air pressure which the ear regis-             bullet itself, a certain amount of gas escapes
         ters as sound, transmitting it to the brain. If there           through the open area and actually precedes the
         is no one to hear it, there is no sound. A roaring              bullet out of the silencer to join the precursor wave.
         avalanche would be completely silent, even though                    The fifth source, which is also present only in
         there would be a tremendous amount of air in                    suppressed weapons, is jet noise. This is caused by
         motion.                                                         turbulence, swirling gases and reverberation within
              Sound also diminishes with distance. The report            the silencer itself.
         of a .38 Special with a 2" barrel can cause the                      The sixth component, which is present no mat-
         shooter's ears to ring if he or she isn't wearing ear           ter what type of firearm, is the mechanical noise
         protection. To a person a block away, the sound                 of the action. In a properly suppressed semi-auto-
         will be fairly loud but far from painful. A mile                matic or automatic weapon, this sound is usually
         away, it might not be heard at all.                             the major one heard, yet it can be almost non-
              There are actually seven different elements that           existent in a bolt or lever action. In autoloading
         make up what we usually think of as the report of               weapons, this sound is accompanied by residual
         a gun, although one or two might not be present                 pressures in the chamber escaping when the action
         under certain conditions or might be so insignifi-              opens.
         cant as to hardly be noticeable.                                     The final sound is bullet crack, which is nothing
              The first is the precursor wave, which is caused           more than a miniature version of the sonic boom
         by the bullet traveling down the barrel and sudden-             you hear when a jet aircraft breaks the sound bar-
         ly compressing the air in the bore. This compressed             rier. The bullet crack is, quite literally, the sound
    I    air precedes the bullet out of the barrel.                      of the bullet as it passes the souhd barrier, which
              The second sound is the bullet exiting the barrel.         is roughly 1100 feet per second (fps). This sound is
    I~   Both of these sounds go unnoticed in u~suppressed
         weapons as they are completely oversHadowed by
                                                                         the easiest to eliminate, and isn't present at all in
                                                                         subsonic calibers such as .32 ACP, .380 ACP,
         the third sound, which is the. escape of the burning            .38 Special, .44 Special, .45 ACP, etc. It is present
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                          in virtually all rifle calibers, including .22 Long                 While it's theoretically possible to silence vir-
                          Rifle, and in some handgun cartridges such as the              tually any weapon that is designed to be held in
                          9mm Parabellum, .30 Luger, .357 Magnum, etc.                   the hand and/or fired from the shoulder, it isn't
                          However, the 9mm is still an excellent cartridge for           always practical. A silencer could be built that
                          use in suppressed weapons since it can be "loaded              would silence a .308 Norma Magnum firing fac-
                          down" to subsonic velocities or it can be slowed               tory ammo. But you would probably need a wheel-
                          down by bleeding off some of the propellant gases              barrow to haul it around.
                          through vent holes in the barrel (see photos of                     A silencer which would work well on a revolver
                          High Standard HD on page 10 and M3 "Grease-                    would have to enclose almost the entire weapon.
                          gun" silencer on page 11).                                     When a revolver is fired, burning gases escape from
                                                                                         the gap between the front of the cylinder and the
                                                                                         barrel, and with them comes a significant part of
                                                                                         the gun's report. A current state-of-the-art silencer
              I>
                                                                                         can be fitted onto the end of a revolver's barrel,
          il
          I                                                                              but its effectiveness will be greatly impaired by
          ,j                                                                             that cylinder gap.
          , I                                                                                Despite this fact, there have been instances in
          : I                                                                            which silencers have been used on revolvers for
          I
          i,          ,
                                                                                         serious purposes. One example is the "tunnel rats"
                                                                                         of Vietnam. These were U.S. servicemen of small
          II
          I
                                                                                         physical stature who were called in to search Viet
          I                                                                              Cong tunnels whenever a new one was discovered.
                                                                                         The tunnels were usually abandoned, but not al-

      r                   Blow-by occurs when part of the expanding pow-
                                                                                         ways. There was no way to know until someone
                                                                                         went in and physically checked them out. The tun-

      ~: ~
                          der gases (small arrows) actually pass the bullet and          nel rats often carried only a handgun for a weap-
                          precede it (large arrows) as it passes through the             on, with the silenced High Standard HD Military
                          holes in the baffles of a silencer. These holes must           being a favorite. A few men, however, preferred
      ,
     !.                   necessarily be a good deal larger in diameter than             .38 Special revolvers with silencers. This was prac-
          ~.I             the bullet in case the silencer is mounted askew or            tical for their use since they weren't actually trying
                          slightly oft center on the weapon.

                               Since the muzzle blast is the major factor in
                          producing noise, reducing it is the simplest and
                          most effective way of attempting to silence a weap-
                          on. To reduce the muzzle blast, silencers are
                          designed to accomplish two things: slow the exit of
     iI           I
                          the gases from the barrel and cool them down at
 ,:               I
                          the same time.
                               Ideally, a silencer will have three separate cham-
                  I
                          bers, although some highly effective designs don't
          ."
          il              have that many. The first chamber is the entrance
                          chamber. It may be completely empty or it may
                          contain heat or sound absorbing materials. The
                          middle chamber contains baffles which serve both               The end cap of the silencer (far right) should be
                          to absorb heat and slow the gas expansion down by              shaped in such a manner that when the blow-by
                          allowing it to expand in small, individual compart-            gases (large arrows) hit it, they will bounce back
                          ments. The final chamber is the exit chamber,                  and hit the main body of expanding gas (small ar-
                          which is closed by an end cap. This end cap should             rows), causing it to slow down. The gas is also
      II                  be shaped in such a way that the blowby gases are              cooling as it slows down. Even though the whole
                          blocked and driven backward by it. They will then              thing happens in a matter of miliseconds, the
      !.I
      , I                 collide with the main body of expanding gas and                longer it takes for the gas to escape from the
      !'                  create turbulence, thus slowing the escape of the              silencer and the cooler it is, the quieter the sound
              I           gases from the hole in the end cap.                            of the report.

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to silence the weapon, but merely reduce the report            internal free volume of the silencer tube should be
to a decibel level which would be bearable within              about 20 times the internal volume of the bore ,
the close confines of the tunnel.                              with about 40% of that space taken up by the
     Although they can be more effectively silenced            entrance chamber. Obviously, you would need a
than revolvers, automatic and semi-automatic                   much larger tube for a .30-06 with a 20" barrel
weapons are still less than ideal for that purpose.            than for a .22 pocket pistol with a 3%" barrel. The
Action noise and the escaping residual pressure                length of the tube should also be roughly 5 times
were covered earlier, so the reasons should be                 its diameter. These ratios can be varied somewhat
apparent. A MAC 10 fitted with a silencer is a lot             if necessary, but are considered close to ideal by
quieter in operation than one without, but it still            the people who should know - the successful com-
has a sound level that is definitely noticeable. The           mercial silencer manufacturers.
main noise is the action. To a person standing a
few yards away, it sounds about like a carpenter
hammering. The Red Chinese overcame this prob-
lem with their PRC Type 64 pistol, which can be
operated manually or as a semi-auto.
     As mentioned in the preceding chapter, the
actions of the Welrod and the silenced M1 Carbine
had to be worked manually. This is a highly desir-
able feature for a silenced firearm since it eliminates
action noise altogether when the weapon is fired.
Of course, such weapons were designed to be used
under circumstances where the shooter would have
a high probability rate of achieving a one shot kill,          Revolvers are difficult to silence due to the gap
since sustained fire with them is difficult at the             between the front of the cylinder and the barrel.
very least.                                                    Note the large amount of burning gas in the cylin-
     Bolt action rifles have traditionally been used           der gap of this Smith & Wesson .38 Special r~volver
by snipers because their inherent accuracy is                  fired after dusk. This particular gun's gap isn't
superior to other types of actions. However, the               overly large, but is actually typical of most revolv-
fact that the bolt can be manipUlated slowly and               ers.
quietly certainly doesn't hurt, especially if the
weapon is fitted with a silencer. The use of silenced              Although firearm silencers as such are strictly
sniper rifles in Vietnam was covered in the first              controlled by the government, there are other alter-
chapter, but it should also be pointed out that they           natives for noise reduction which are perfectly
were used by both sides in both World Wars. When               legal. Soundproofing an indoor range is one. For
they feared capture, German snipers of World War               outdoor use, a handful of old tires lined up side by
 II would generally bury their rifles or throw them            side to form a "tunnel" can also be used. Simply
down a well, as the Allies treated captured snipers            stick the muzzle of the gun a foot or so into the
the same as spies and summarily shot them.                     tunnel. A cardboard box with cardboard baffles
     While most commercially made silencers have               lined up in it can also be used, although it will
 metal tubes and either plastic or metal screen                eventually become a fire hazard due to the collec-
 baffles, there are a number of other materials                tion of unburned powder that will eventually build
 which can and have been used to make silencers.               up in it. So far, the BATF hasn't construed any of
 One experimental m9del from Automatic Weapons                 these methods to be actual silencers, probably
 Company had a PVC tube and used baffles made                  because they would be a bit awkward to carry
 from corrugated cardboard. It was test fired                  around when going out to make a hit or otherwise
 with over 100 rounds of .22 Long Rifle ammo be-               try to silence the gun's report for questionable
 fore it was sectioned for study. It turned out to             reasons.
 be more effective and durable than its makers had                 However, there have been a number of home-
 hoped.                                                        made silencers worked up which are highly illegal'
     Although nothing is really cut and dried in               since they are attachable to the gun and are easily
 silencer design, beyond the limits of practicality,           transportable. It's anybody's guess how many peo-
 there are a few rules of thumb which will help to             ple have taken lawnmower mufflers and tried to
 assure success if followed. Generally speaking, the           tum them into silencers. One source even reports



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               that an empty liquid detergent bottle filled with            convincing a jury that said contraption was actually
!   I   f"""   cotton makes a pretty effective one shot silencer.
               Another story says that the nipple from a baby
                                                                            a muzzle brake or flash suppressor!
                                                                                If you feel that you simply must attempt to
               bottle will work if you cut an X in the end, then            build a truly effective silencer, go about it the legal
               slip it over the gun's muzzle. Whether these work            way. Apply to the BATF for approval to build one
               or not, they are still illegal since they show intent        for your own use. The $200 check that goes with
               to silence a weapon. In fact, a person could face a          the application may put a dent in the family bud-
               prison sentence even if the silencer's design was so         get, but it's still a lot cheaper than not drawing a
               bad that it actually increased the sound of the              weekly paycheck for several years because you're
               report by several decibels. If you doubt it, just try        doing time in Leavenworth!




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                                        Silencer Patents


              Although Hiram Maxim's silencers were state-           thing from anti-tank and 75mm guns on up to
         of-the-art in the pre-World War I era, other inven-         small naval guns. It might have worked, but in
         tors continued to try to come up with new designs,          order to do so it would have to have been built in
         either in an attempt to improve silencer perfor-            such a size as to render it virtually immovable.
         mance or in order to circumvent the Maxim patent.               Although not every silencer developed or patent
         While some of these designs appear to be sound in           granted between 1910 and 1960 is included, the
         principle, none of them achieved the commercial             most interesting and important are shown in order:- c:C.
         success of the Maxim silencers. Actually, even they         to give the serious student of the subject a broad =- ~c:r: :.
         hardly made an impact on the shooting world that            overview of silencer design in the U.S. Those listed -      :
         could be likened to, say, the impact of the Model T         herein are presented in chronological order, rather:- '.:
         on personal transportation. As we pointed out               than by inventor, since this gives a clearer picture:::- ~ :
         earlier, the Maxim Silencer Company had phased              of the over-all trend in silencer development, hence - ~~:
         out firearm silencer production by 1925 and was             there will be two listings for Hiram Maxim, two for:-     J:.:
         concentrating on marine engine and industrial si-           R. A. Moore (not to be confused with Herbert -            cr-:
         lencers. It's doubtful if Hiram P. Maxim anticipated        Moore), etc.                                             j
         the passage of the National Firearms Act of 1934                One must also remember that silencers were
         by doing so. He probably was simply practical               being developed in other countries as well, prin-
         enough to realize that other types of silencers             cipally in Europe, at this time and that their in-
         offered a more lucrative market.                            ventors' concepts were sometimes different than
              A few of the more interesting designs are              our own. For an excellent study of silencers both
         discussed here and illustrated by their patent              here and abroad, refer to Firearm Silencers, Vol-
         drawings. As can be seen, the period from about             ume Two, by John A. Minnery (Desert Publica-
          1910 to 1920 was the Golden Age of silencer                tions, 1981).
         design as far as proliferation is concerned. But for
         truly effective silencers, the era of World War II
         until the 1970's is undoubtedly the real Golden             Hiram P. Maxim, 1909
         Age, since that is the era that produced the O.S.S.             Although Maxim's first firearm silencer patent
          silenced High Standard HD Military, Mitch Wer-             preceded the one shown here by a year, it was for a
         Bell's Sionics designs, the Automatic Weapons               rather crude affair which never went into produc-
          Company designs, etc. These examples are, of               tion. It was a rather naive attempt to silence a

    I~   course, the successes. There were also numerous             firearm by trapping the burning powder gases near
         failures along the way, among them a rather                 the muzzle with a valve system activated by those
          unorthodox 1939 design of a silencer for every-            gases.


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                                                                                              Top view of Stinson silencer with cutaway.




                                                                                                    Cross section of Stinson silencer.



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    -       ~                                                                                             Cross section at line 4-4.
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                                                                                                Rear view.                Front view 0
                                                                                         STINSON SILENCER
                                                                                         10. Tubular casing.
                                                                                         11. Front cap.
                                                                                         12. Rear cap.
                                                                                         13. Wall.
                                                                                         14. Opening.
                                                                                         15. Radial slot.
Hiram P. Maxim's original application for a patent                                       16. Pressed out portion of threaded cap flange.
on his Model 1909 silencer.                                                              17. Opening.
                                                                                         18. Shoulder.
    The Maxini Model 1909 was never very widely                                          19. Dish-shaped disk.
distributed, but was a definite improvement over                                         20. Spacer rings.
Maxim's first attempt and was at least as effective                                      21. Splines, indexing disks inside casing.
as other silencers of the day. Maxim's idea with the                                     22. Indexing slots in disks (for splines) ..
Model 1909 was to trap and whirl the powder gases                                        23. Ring of disk.
around inside the silencer, allowing them to expand                                      24. Muzzle of silencer.
and cool before entering the atmosphere.
                                                                                         than the majority of similar devices, since the gases
J. H. Stinson, 1909                                                                      are retarded in c( I,'tk.kJ ' I' I' I' I ; I' I' I' I' I .
    James H. Stinson's "Gun Muffler" is actually                                             The tube of LL# qv              ~                     ined, in
representative of the silencers of its time, except                                      most cases, thre          0 i ~ w              b b lich was
for one important difference. Most others with                                                                                ot
                                                                                         made up of two hemiSpheres' uneqii81 size. Once
dish-shaped baffles had the convex side facing to                                        the powder gases entered the expansion chamber,
the rear to trap the gas. The Stinson silencer placed                                    they flowed into the hemispheres where they were
the concave side to the rear to not only trap the                                        whirled and further expanded, finally dissipating
gases, but to force them rearward when they hit                                          into the atmosphere through the muzzle. Note in
the baffles' surfaces,                                                                   the patent drawing that the bullet aperture is offset
                                                                                                                                                                l.!
                                                                                         from the centerline of the silencer tube, just as in -                 l'
George F. Childress, 1910                                                                the Maxim Model 1910. Apparently Childress also -
    In his patent application, Mr. Childress claimed                                     recognized the value of being able to use a weap- -
that his silencer. was "less easily clogged with dirt                                    on's factory sights with a silencer.                               -


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                                                                                  I              ij      "'I~
                                                                                                               Q?  ~
                                                                                  Kenney silencer on rifle or shotgun.
                         3                  \11

        Sectional view of mounted Childress silencer.




                                                                                      Cross section of Kenney silencer.


     Side view of sphere.        Cross section of sphere.


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                                                                  Muzzle view.                                          Rear view of disk.



       Cross section of Childress silencer at line X-X.

i~   CHILDRESS SILENCER
     1. Barrel of gun.                                            Cross section of Kenney silencer wlth modfied disks.
     2. Bore.
     3. Silencer casing.                                                                                                  J7~/17£
                                                                                                                             . .... I?!!

     4. Rear cap.                                                                                                                  -I?!

     5. Internally threaded collar.                                                                                               -17 g

     6. End wall (dished to withstand pressure).
     7. Bullet aperture.                                          Rear view of impact plate.                  Cross section of disk.
     8. Larger hemisphere.
     9. Smaller hemisphere.
     10. Overlap of hemispheres.
                                                                                                      l?e~.
                                                                                                        o
                                                                                                             17   17£

     11. Smaller hemisphere tongue.                                                                           17~
     12. Larger hemisphere tongue.
     13. Gas passageway.                                                                         Rear view of disk.
     14. Bullet entrance aperture.
     15. Bullet exit aperture.                                    KENNEY SILENCER
     16. Vertical partition.                                      10. Barrel of rifle or shotgun.
     17. Annular indexing groove.                                 11. Outer cylindrical housing of silencer.
     18. Indexing tongue, to prevent transverse rotation.         12. Perforated ring.
     19. Expansion chamber.                                       13. Chamber.
                                                                  14. Openings in ring.
     C. H. Kenney, 1910                                           15. Openings for exhaust gases.
         Although quite conventional, the Kenney                  16. Expansion chamber.
     silencer was one of the more practical designs of its        17. Cup-shaped shearing disks.


I~
     day while still incorporating a couple of unique             17a. Holes in disks.
     features. It provided a pre-expansion chamber for            17b. Annular knife-like edge of disk.
     powder gases and contained hat-shaped disks                  17c. Radial web or fin of disk.
     whose sharp edges were supposed to "slice" the               17d. Cutaway portion of disk.


                                                             21
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            gases and divert them to the outer edges, from                   The Model 1910 was relatively effective for its
            whence they were finally exhausted into the air.             time and sold quite well. Its main advantage was its
                 While most silencer proponents felt that it was         eccentric construction which allowed the use of
            necessary for a silencer to whirl the gases in order         a weapon's factory sights. It attached to the barrel
            for it to ;work, Kenney believed exactly the opposite        by means of an interrupted thread on both silencer
            and actually had a rm on the back of each disk to            and muzzle end of the rifle. The Model 1910's
            prevent the gases from swirling. More knowledge-             main disadvantage is that it was a permanent as-
            able than most would-be silencer inventors, Kenney           sembly which couldn't be dismantled for cleaning.
            referred to the gas being dissipated by the silencer,        In a time prior to non-corrosive primers, the Model
            instead of retained. He said this fact made the              1910 had a rather short service life unless it was
            silencer acceptable for use on automatic or rapid            frequently cleaned by placing it under a running
            fire arms.                                                   hot water faucet as Maxim suggested.
                 The Hopkins & Allen "Noiseless" was the pro-
            duction version of Kenney's silencer. It was factory
            fitted to some H&A rifles as they came off the pro-
            duction line.

            Hiram P. Maxim, 1910
                 Although bearing the 1909 patent date, the
            eccentric Maxim Model 1910 didn't come out until
            the following year. it's probably the most prolific
            commercial silencer that was ever marketed. It was           First model Moore silencer mounted on M1903
            redesigned from the Model 1909 as Maxim felt the             Springfield rifle.
            latter let a small shaft of gas exit from the muzzle
            directly behind the projectile and he wanted to
            prevent this.
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            The most common of the several variations of
    I       Maxim Model 1910 silencers is shown above. Silen-
            cers of this type were once sold over the counter                  Moore silencer with sideplate removed.
            by many hardware and sporting goods stores.
                                                                         Robert A. Moore, 1910
                                                                              A Chicagoan, Mr. Moore and the Moore Silencer
                             /lv # lv'                                   Company of New York City were granted a patent
                                     a
                                 ~                                       for their first silencer design in 1910. This inter-
                                                                         esting silencer was intended for use on large caliber
                                                                         sporting or military rifles, with the latter being
            Another variation of the Maxim 1910. Note the                fitted with a bayonet. Unlike most silencers of the
[ I
            difference in the baffles, although the tube appears         day, the Moore design had removable sideplates, a
!   I
            to be the same.                                              must for prolonged military use.




II~
I "
                                          Model 1910 Maxim silencer mounted on a rifle.
: I




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                                                                   24'.   Opening of parthion.
Ir-                                                                25.
                                                                   26.
                                                                          End of partition, connected to others.
                                                                          End of partition, connected to others.
                                                                   27.    Broad moving wing.
                                                                   28.    End portion of moving wing.
                                        'Zr!~
                                                                   28a.   Concave surfaces of moving wing.
                                                                   29.    Concave surfaces.
                      Section on line 4-4.
             G
                                                                       The Moore silencer consisted of a gas chamber
                                                                   beneath the muzzle of the rifle. A series of baffles
                                                                   was supposed to deflect the burning gases, or
                                                                   muzzle blast, downward into the chamber. A
                                                                   movable shutter was then activated by the gases,
                                                  o                forcing fresh air into the chamber to cool the
                                                                   gases. They would then exit from the chamber
                                                                   through exhaust holes cut in its sides.
      Moore silencer for sporting rifles was basically the
      same as the military silencer, except it had no pro·
      vision for attaching a bayonet.




                                                                      Side view of rifle barrel with Shipley silencer.



      Section, line 6-6.   Section of modified gas divider.

      FIRST MODEL MOORE SILENCER
                                                                             ~                       ..a.


      10. Muzzle of rifle.
      11. Front sight.                                                         Detail of perforated members.
      12. Handguard retaining band.
      13. Hollow casing.
      13a. Hooked muzzle end of casing.
      13b. Rear end of casing.
      13'. Removable side plate.
      13". Interlocking lugs of sideplate.
      14. Lip fitting over gun muzzle.
      15. Spring dog to retain silencer on barrel band.
      16. Spring dog to retain silencer on bayonet lug.
      17. Hilt of bayonet blade.                                   Cross section of Shipley silencer mounted on rifle
      18. Blade support lugs.                                      barrel.
      19. Handguards (for use when silencer is used as
           a bayonet).
      20. Vents.                                                                                      :~/I/
                                                                                                     /0          ~   __/Z
                                                                                                     /.:J             .",
      21. Bore of silencer.                                                                                 'I
      21'. Bent portion of casing at bore.
                                                                   Cross section of line 3-3. Cross section of line 4-4.
      22. Gas divider.
      22'. Pivot point of gas divider.
      23. Partitions.
      23'. Opening of partition.
      24. Partition.                                                            Detail of perforated members.


                                                              23
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     SHIPLEY SILENCER
     A. Rifle to which silencer is attached.
     B. Rifle barrel with silencer attached.
     1. Sections of tubing assembled into casing.
     2. Individual sections of tubing.
     3. Coupling rings.
     4. End sections of tubing, with closed ends.
     5.  Dovetail on coupling rings.
     6. Dovetail slots on barrel.
     7. Opening in tube through coupling ring.                           Craven silencer for single barrel shotgun.
     7a. Opening in barrel.
     8. Wedge-shaped notch.
     9. Block with wedge-shaped base.
     10. Wedge portion of block ..
     11. Elongated socket.
     12. Holes leading down from elongated socket.
     13. Transverse holes through block.
     14. Elongated slot which aligns with elongated
         socket.
     15. Notched disk.
     16. Disk with openings.                                        Cross section of owner installed (above) and fac-
     17. Notches in disk.                                           tory installed (below) Craven silencers.
     18. Openings in disk.

     Andy C. Shipley, 1910
          Shipley's idea was to tap the burning powder
     gases from the 'bottom of the barrel and bleed them
     into an expansion chamber below, then let the gas
     dissipate into the open air. The basic idea may have
     been sound, but the small hole drilled into the bot-
     tom of the barrel wasn't large enough to bleed off
    "enough gas to do much good. Also, the inventor
     seemed to be unaware of the realities of bullet
     crack, even though there were a few supersonic
     cartridges around back then. In his patent applica-
     tion he wrote:
     co ••• it will be apparent that the report that usually
     accompanies the discharge of a rifle or other fire-
     arm' is effectually avoided and the position of the
     marksman unbetrayed to game or an adversary a
     short distance away."
                                                                        Craven silencer for double barrel shotgun.
     Harry Craven, 1911
         Although a bit bizarre in practical application,           the disk valve back into place, trapping the gases
     the theoretical concept of the Craven shotgun silen-           and forcing them to dissipate out into the air
     cer was basically sound. A can full of holes is                through the holes in the outer casing.
     placed on the end of a gun's barrel and the bullet                  Craven developed several variations on his
     (in this case, shot) aperture at the front of the              basic silencer design, including one for a double
     silencer is covered by a spring-loaded disk valve.             barreled shotgun. However, his claim of the silen-
     When the weapon is fired, the wad or shot would                cer's usefulness on a rifle is to be doubted since
     blow the disk valve upward and out of the way,                 some very strange things could easily have happened
     where it would remain until the shot had passed                if the bullet's point reached the disk valve before
     out of the muzzle. Spring pressure would then snap             the overall diameter could trip the valve's spring.


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                                                                 CRAVEN SILENCER
                                                                  A. Gun barrel.
                                                                  AA. Gun barrel.
                                                                  A 1. Gun barrel specifically made for Craven
                                                                       silencer.
                                                                  B. Front sight.
                                                                 C. Sighting rib on double barrel shotgun.
                                                                  (No No.1)
                                                                  2. Auxiliary barrel extension.

                   +
      Cross section of Craven silencer for double barrel
                                                                 3. Enlarged section or barrel adapter, counter-
                                                                       sunk for muzzle.
                                                                 4. Reinforced section of adapter.
      shotgun.                                                   5. Slot to accept front sight.
                                                                 6. Retaining screws to attach assembly to barrel.
                                                                 7. Spring whicl1 opens and closes disk valve.
                                                                 8. Groove for spring (7).
                                                                 9. Groove for spring (7).
                                                                 10. Angular bend in spring.
                                                                 11. Disk valve.
                                                                 12. Perforations in barrel extension.
                                                                 12a. f'erforations in gun barrel specifically made
                                                                       for Craven silencer.
      Cross section, line 5-5.   Cross section, line 6-6.        13. Hollow chamber, aluminum construction.
                                                                 14. Chamber end plate.
I
                                                                 15. Perforations in end plates.
                                                                 16. Additional front sight.
                                                                 16a. Additional front sight, double barrel gun;
I~                                                               (No No. 17)
                                                                 18. Partition separating barrel extensions on
                                                                       double barrel silencer.
                                                                 (No No. 19)
                                                                 20. Barrel extensions similar to 2 above.
                                                                 21. Slot in barrel extension.
                                                                 22. Additional front sight.
                                                                 23. Disk valve.
                                                                 (No No. 24)
                                                                 25. Angular bend in spring.
                                                                 26. Hollow chamber.
I
                                                                 27. Screws and rivets.
                                                                 (No Nos. 28 & 29)
                                                                 30. Barrel extension.
I                                                                31. Slot in barrel extension.
                                                                 32. Extra front sight.
                                                                 33. Hollow chamber.
I                                                                33a. Walls of hollow chamber bent to fit snugly
                                                                       around barrel extension.
                                                                 34. Screws or rivets.
I
                                                                 35. Spring which opens and closes disk valve
                                                                       (moved by projectile).
I
                                                                 36. Disk valve.
                                                                 (No No. 37)
,I~   Another modified Craven silencer, with cross sec-          38. Slot for spring.
      tion looking toward the muz~le.                            39. Angu lar bend in spring.

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      Eugene Thurler, 1911                                                        THURLER SILENCER
          Thurler was granted a U.S. patent for his silen-                        P. Projectile.
      cer design in the fall of 1911, and it saw limited                          a Sleeve.
      production in Europe shortly thereafter (Thurler                            a'. Angular slot.
      lived in Switzerland). Instead of using spacer rings                        b. Barrel of gun.
      between his deflecting cones like most other silen-                         c. Gun sight.
      cer designers, Thurler suspended the cones on four                          d. Gas deflecting disk-cones.
      lateral rods. This was necessary since the gases were                       e. Tube.
      expected to pass through the cones and the per-                             e'. Tube.
      forated tube that surrounded them into the void                             f.  Indexing rods for disk-cones.
     space between that tube and the eccentric outer                              g. Second tu be.
      casing. In some models, this void space was filled                          g'. Perforated part of second tube.
      with aluminum shavings and there was a second                               h. Third tube (forward portion is perforated).
     ,perforated tube surrounding them. Slots in the                              h'. Outer tube filled with aluminum shavings..
      outer housing allowed the gases to finally escape                           h2. Network.
      into the atmosphere. "Finally" as used here is a                            h3. Gas exhaust slots in outer tube.
     relative term, since the entire process was accom-
      plished in milliseconds.                                                    Herbert Moore, 1912
                                                                                       Mr. Moore's unusual silencer consisted of a
                                                                                  short tube that attached to the barrel of a rifle
                                                                                  and a smaller diameter, longer tube that was slung
                                                                                  below the barrel. When the weapon was fired, the
                                                                                  gases were supposed to flow into the lower tube
                                                                                  and force a spring-loaded plunger rearward. When
                                                                                  the plunger moved forward again, it would push
                                                           Cross section,         the gases back into the top tube, from which they
                                                             line II-II.
I~                                                                                would be expelled into the atmosphere. The inven-
                                                                                  tor claimed that this silencer would significantly
                                                                                  lessen the recoil of the arm and would also capture
                                                   a                              all the smoke produced by black powder. It was
I
                                                                                  supposed to retain the carbon particles and release
                                                            End view,
                                                            disk-cone.
                                  Attaching notch.



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       C    I   !II   lJ--t                                  J/
            I·        I I
                                                                                        Cross section, Herbert Moore silencer.
            LLJJ
     Cross section,               ~~",.,'
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                                          ..Ld                                                                 I   8
        Thurler                   [T\1~: I,., ?


                                  r,~:J
       silencer.                                   Alternate construction.
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                                  U"
                                           ".f

                            Modified disk-cone
                               assembly.                                                        Section 2-2 of above.


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     only clear gas. It just goes to show you that some-            designs in this time period. The Army issued two
     thing doesn't really have to work to be patentable,            M1903 Springfield rifles equipped with silencers
     it just has to be different and look like it will work.        to each infantry company prior to World War I,
                                                                    but later reversed its stand. Its reasoning was that
     HERBERT MOORE SILENCER                                         the enemy is less aggressive if he knows he's being
     A. Muzzle end of gun barrel.                                   shot at. Silencers were then relegated to special
     B. Bore of barrel.                                             roles such as sniping.
     C. Projectile.                                                     The Second Model Moore silencer was more
     1. Cylindrical casing.                                         sophisticated than the original. Gases were initially
     2. Threaded, extended flange on casing.                        trapped in a large chamber under the muzzle, from
     2a. Threaded muzzle of gun.                                    which they expanded into a second chamber, then
     3. Threaded portion of muzzle end of silencer                  through a series of baffles into five smaller cham-
         casing.                                                    bers. A production model is shown in the accom-
     4. Threaded ring.                                              panying photo.
     5. Inner threads on ring.
     6. Tubular member.
     7.  Flare in tubular member.
     S. Tubular chamber.
     9. Connecting casing.
     10. Sliding plunger.
     11. Extension of tubular chamber.                              Second Model Moore silencer mounted on M1903
     12. Coil spring.                                               Springfield rifle.
     13. Annular plug.
     14. Screw plug (removable for cleaning).
     15. Plunger retaining screw.



                                                                        Cutaway of Second Model Moore silencer.




                                                                     Detail of tubular baffle.      Section on line 4-4.

                                                                    SECOND MODEL MOORE SILENCER
                                                                    1. Oval casing.
                                                                    1'. Bayonet stud on silencer.
                                                                    2.   Rifle barrel.
                                                                    3. Bore of silencer.
                                                                    4. Recess for rifle barrel in rear of silencer.
                                                                    5. Hollow trap extension.
                                                                    6.   Rifle bayonet stud engaging member.
               Second Model Moore Silencer.                         7. Rifle bayonet stud.
                                                                    8. Curved partitions.
     Robert Moore, 1912                                             9. Chambers.
         A patent for a second, more sophisticated silen-           10. Inclined webs.
     cer was granted to Robert Moore in 1912. The de-               11. Partition across casing.
     sign must have worked reasonably well for it was               12. Tubular baffle.
     given thorough testing by the U.S. Ordnance                    12'. Snug-fitting end of tubular baffle.
     Department and two years later, in 1914, approxi-              13. Blades or fins.
     mately 100 were ordered for field tests. In his                14. Inclined fins.
I~   writings, Gen. Julian S. Hatcher refers to the                 15. Spiral spaces.
     attention given both the Maxim and the Moore                   16. Muzzle cap to protect muzzle of gun.


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          Peter J. De Vries, 1914                                          DE VRIES SILENCER
              De Vries' silencer was unusual for the period in             (No Nos. 1-6)
          that it could be attached to a standard firearm with-            7. Muzzle of gun.
          out any alteration, such as threading the barrel. It             8. Body of silencer.
          was attached by a unique cam lock.                               9. Collar which butts against muzzle.
              Like most silencer inventors of the day, De                  10. Slit to allow tightening.
          Vries thought that it was necessary to spin the                  11. "Cheeks" of silencer which fit against barrel.
          gases in order to silence a gun's report. The gases              12. Tightening cam lever.
          were trapped in a large main chamber, then bled                  13. Adjusting screw for tightening cam.
          out through three large holes in the bottom which                14. Closed muzzle of silencer.
          contained special inserts that were similar in                   15. Hole in muzzle of silencer.
          design to wood drill bits, which would spin the                  16. Sleeve extending inside the silencer from the
          gases. Although designed for use on small caliber                    muzzle.
          arms, the inventor claimed the idea, could be                    17. Bore of gun.
          adapted to any caliber.                                          18. Gas outlet tubes or "valves".
                                                                           19. Screw thread in valve.
                                                                           20. Deep thread of valve plug.
                                                                           21. Valve plug.
                                                                13
                                                                           22. Spiral duct in valve plug.
                                                                           23. Notch for screwdriver, to remove valve plug for
                                                                II             cleaning.
                     Side view of De Vries silencer.                       W. E. Westfall, 1914
                                                                                Mr. Westfall was far enough ahead of his time
                                                                           to realize that a successful silencer needed to be
                                                                           capable of containing a very large volume of gas.
     '~                                                                    He solved the problem by designing a silencer
                                                                           which completely surrounded the barrel, in addi-
                                                                           tion to extending well beyond the muzzle. The
                                                                           gases first entered a large expansion chamber in
                 Bottom view of De Vries silencer.                         front of the muzzle, then they forced open a rather
                                                                           unusual check valve, which allowed them to ex-
                                                                           pand into the chamber which surrounded the bar- .
                          /S'

                 ~       1-'1
                                              .22----~
                                                                           reI. The return spring on the check valve caused the
                                                                           gases to lose energy by forcing them to work against
                                                                           it. The check valve was available with either flat or
                   II till/                            ~2J                 cone shaped baffles, the latter being more effective
                 Front view.        Detail of screw plug for valve.        in catching the gas.
                                                                                Whether the Westfall silencer was ever marketed
                                                                           or even extensively tested isn't known, but it's an

                                 tl@
                                             J~/f-                         interesting design which should have worked far
                                                                           better than some others of its day.
                                12" , ,,0.. /13                            ,,,
                                   I': , __;:~ _--II
                                   /1      .··/0
                    Rear, with clamp lever on left side.                                                                             .5   I
                                                                                           Cross section, Westfall silencer.          t
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                 ~~~~~~~~:;
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                   Cross section of De Vries silencer.                     Cross section, check valve.               Section on line 3-3.


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                                                                 of Illinois. Unfortunately, it's also one of the most
                                                                 questionable as far as effectiveness or even safety
                                                                 is concerned.
                                                                      Externally, the Jones silencer reminds one of
                                                                 an adjustable choke, which is appropriate enough
                                                                 since it was designed for use on shotguns. But in-
        Cross section, enlarged view of modified Westfall
        silencer.                                                      r
        WESTFALL SILENCER
                                                                 "j           1     u
                                                                                                   OC""':~
        (No A or B)
        C. Long gas chamber.                                          Side view of shotgun with Jones silencer.
        D. Gas arresting chamber.
        S. Rifle.
        1. Gun barrel.
        2. Annular ring formed on base of barrel.
        3. Threaded portion of 2, above.
        4. Threaded end of silencer casing.
        5. Silencer casing.
        6. Exhaust end of silencer casing.                                 Cross section of silencer and barrel.
        7. Removable spacing sleeve.
        8. Projecting spokes.
        9. Collar.
        10. Inturned abutment flange, seat and stop' for
            sliding check valve.
        11. Sliding check valve.
        12. Valve body.
        13. Disk-like end cap.
        14. Baffle disks.                                                  Cross section of silencer less casing.
        15. Opening in baffle disk.
        16. Openings in end cap.
        17. Resetting spring.
        18. End plug.
        19. Air chamber.
        20. Openings.                                                             Detail of silencer body.
        21. Shock absorbing spring.
        22. Centering spider.
        23. Check valve.
        24. Ring.
        25. Peripheral cap flange.
        26. Inner wall.
        27. Threads on valve casing.
        28. Removable and replaceable baffle members.            Triangular closure lips, which were supposed to
        29. Side walls.                                          retain gas and sound.
        30. Bottom walls.
        31. Conical portion.                                     JONES SILENCER.
        32. Openings.                                            1. Muzzle of gun.
        33. Holding cap member.                                  2. Body of silencer.
        34. Threaded neck of cap member.                         3. Outer casing.
        35. Bearing flange.                                      4. Retaining screw.
        36. Conical portion.                                     5. Reduced neck.
                                                                 6. Annular rim.
        Seth Jones, 1915                                         7. Circumferential groove.
            One of the most remarkable silencer designs          8. Closure lips, to retain gas.
        of the pre-World War I era was that of Seth Jones        9. Taper to allow lips to close tightly.


                                                            29
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  10.   Bent lugs (ears) which retain lips.
  11.   Flat spring which closes lips.
  11a   Tongue on spring.
                                                                                                                   .~~

  12.   Groove in body for flat spring.                                                                       }    /   .~
  13.   Guide notches for lips.                                                                             :It Jt
  14.   Taper for extra springiness.
                                                                  Cross section, Bailey silencer mounted on rifle.
  15.   Groove for 11a.

 ternally, it's a whole different ballgame. The shot-
 gun's muzzle is enclosed by a cone made up of
 several parts cut into pie shaped triangles held to-
 gether by flat springs. This cone is attached to a
 tube which is screwed onto the barrel of the shot-
 gun, with an outer casing enclosing both cone and
 tube.                                                               Front view.        Detail of screen sleeve.
      In function, the cone was supposedly forced
                                                               BAILEY SILENCER
 apart by the charge of shot when the weapon was               A. Gun barrel.
 fired, allowing the shot and wad to pass through              B. Front sight.
 the opening, then snap closed again in time to                1. Threaded coupling.
 trap the expanding powder gases inside. An in-                2.  Gasket.
 teresting theory, but in fact the still expanding             3.  Outer casing.
 gases would have to go somewhere - either out
                                                               4.  Upper portion of casing.
 through the now closed cone or through another                5.  Lower portion of casing.
 outlet. If the springs holding the cone together              6.  Expansion chamber.
 were strong enough to keep it closed against the              7. Gas ejecting chamber.
 pressure exerted by the gases, one can only specu-            8.  Frusto-conical diaphragms.
 late on which would give way first, the barrel or             9. Attaching flanges for diaphragms.
 the locking mechanism which kept the action                   10. Gas deflecting lip.
 closed.                                                       11. Opening at rear of ejection chamber.
      All in all, the Jones silencer was an interesting        12. Ejecting tube.
 if not successful concept, and the inventor should            13. Screen cylinders or sleeves.
 at least be credited with trying a different approach         14. Screen mantle.
 to the problem of silencing a weapon's report.                15. Foraminous wall.
                                                               16. Cellar.

  O. J. Bailey, 1916
       Mr. Bailey's silencer was unusual for its day           Eugene W. Thompson, 1916
  in that its inventor was concerned with cooling the              One silencer designer who was either on the
  gases to silence a weapon. Evidently he was un-              wrong track or who was away ahead of his time (as
  aware that rapidly expanding gases make noise, no            he would still be today) was Eugene W. Thompson.
  matter what their temperature.                               According to this Connecticut Yankee, you didn't
       The Bailey silencer was basically rather con-           have to trap, spin or otherwise slow down powder
  ventional in design except for the ejecting tube             gases to silence a weapon. In his patent application,
  beneath the gun's barrel. This tube was filled with          Thompson said: "It has been found that, it is only
  screen baffles which were supposed to cool the               necessary to construct the bore substantially twice
  gases before they escaped into the atmosphere.               the length of the cartridge, for the projectile
  Forward of the muzzle, the silencer contained a              receives its greatest force instantly at the time of
  large expansion chamber containing a number of               the explosion." If Thompson had a special type of
. baffles which were designed to resist breakage               cartridge and propellant in mind, he should have
  when they expanded during rapid fire. Bailey's               patented them, for such a combination is unknown
  silencer was also unusual in that it was one of the          even today. The closest we have come is in some
  very few designs to feature a gas-tight sealing gas-         designs that shorten and/or perforate the barrel to
  ket between the silencer and the muzzle of the               allow gases to escape before the bullet reaches the
  gun.                                                         muzzle (see the O.S.S. designs in the second chap-


                                                          30
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                                                  FIREARM SILENCERS



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I   .
        ter). This reduces supersonic bullets to subsonic
        speeds and eliminates bullet crack.
             Basically, Thompson's original design was for a
        gun/silencer combination that had a barrel length
                                                                     can't help but speculate that some tired, anoni-
                                                                     mous clerk in the patent office might have had
                                                                     visions of this silencer/gun combination helping to
                                                                     keep the dreaded Huns from our shores should the
        only a few times that of the cartridge. A long               tides of war change in favor of the Central Powers.
        assemblage of perforated spools in the silencer was
        used to trap and dissipate the gas. This silencer
        may very well have been rather quiet by 1916
        standards, although velocity and accuracy would
        have suffered to make it possible.




          Cross section, First Model Thompson silencer.




          Perforated spool.                Spacing ring.
                                                                     Second Model Thompson silencer. Note the
        FIRST MODEL THOMPSON SILENCER                                greater variety, yet lesser total number, of parts
        1. Barrel of gun.                                            as compared to the First Model Thompson.
        2. Breech portion of barrel.
        3. Bore of gun.                                              R. M. Towson, 1917
        4. Cartridge.                                                    Mr. Towson's "recoil neutralizer and muffler"
        5. Bore forward of breech portion of barrel.                 has to be one of the weirdest attempts to design a
        6. Perforated spools.                                        silencer on record, or at least it runs closely behind
        7. Spacing rings.                                            Seth Jones's design (see pages 29, 30).
        8. Body of spool.                                                Like Eugene Thompson's second sUencer, the
        9.· Flange of spool.                                         Towson recoil brake/silencer was designed pri- .
        10. Perforations in spool body.                              marily for use on field pieces, although the in-
        11. Perforations in spool flange.                            ventor claimed the design could be adapted to
        12. Chambers between spools.                                 small arms as well.
        13. Chambers around spools.                                      One look at the gas deflecting system which
        14. Bore of spool.                                           bleeds off gases and directs them to the rear should
        15. Retaining cup or plug.                                   convince anyone that this contraption would actu-
        16. Shoulder at breech end of barrel.                        ally be a noise enhancer for anyone firing a shoul-

        Eugene W. Thompson, 1917
            Our undaunted Connecticut Yankee may well
        have smelled the powdersmoke of war coming for
        the U.S. in 1916 when he dreamed this one up.
        Basically similar to his first patented silencer,
        Thompson's later design featured a greater variety
        of parts, but fewer of them. The very short bore
        length (in comparison to cartridge length) was still
        present, even though this silencer was designed for
        use on artillery and coastal defense guns! The U.S.
        issued a patent for it in June 1917, just a couple of
        months after the U.S. entered World War I. One                         Towson recoil brake/silencer.


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                                                                        Anthony Fiala, 1919
                                                                            One of the few silencers developed especially
                                                                        for use on a machine gun, the Fiala silencer was al-
                                                                        so supposed to be a flash hider. Its inventor was a
                                                                        major in the U.S. Army Ordnance Corps, so should
            '4
                                                                        have known a little more about weaponry than the
                                                                        average basement tinkerer.
                                                                            The Fiala silencer was yery conventional in
                                                                        appearance except for the eight small holes in the
                                                                        front plate which surrounded the exit hole for the


                                                  .a,,,
                                                                        bullet. Internally, it contained a unique spiral
                 Cutaway of Towson recoil brake/silencer.
                                                                        device (which Fiala called a muffling screw insert)
                                                                        which was enclosed by a spiral sleeve. Probably the
                                                            .&          most notable feature of the Fiala silencer was the
                                                            II!.
                                                                        ease with which it could be dismantled for cleaning
                                                                        and maintenance, further proof·of the inventor's
                                                                        understanding of the military's needs.
           Detail of removable sleeve.         Detail of collar.


       I



    ·1
                        Detail of swivel extension.                     Cross section of the Fiala silencer and flash hider.
           TOWSON SI LENCER
           1. Muzzle of gun.
           2. Gun sight.
           3. Cylindrical casing.
           4. Bayonet slot.
,          5. Latch member.                                                        Spiral screw retaining .sleeve.
I
           6. Bore.
:I         7. Bore.
     I
           S. Sleeve.
           9. Expansion chamber.
           10. Ring of holes.
Ii'I       11. Collar.
           12. Flange.                                                              Front view of Fiala silencer.
I          13. Deflecting shoulders.
           14. Bore.                                                    FIALA SI LENCER
j
I·
  I        15. Tubular branches.                                        A. Outer casing.
           15'. Tubular branch.                                         B. Cap.
           16.. Angular swivel extension.                               C. Threaded connecting arm.
           17. Annular flange.                                          D. Passage for projectile.
           18. Annular groove.                                          E. Disk.
           19. Set screws.                                              F. Projectile passage in disk.
                                                                        G. Openings in disk to exhaust gases.
           der ann equipped with it. But as with several other          H. Spiral shell or sleeve.
           bizarre ideas contained herein which didn't work,            H'. Equally spaced grooves for muffling screw in
           at least the inventor was trying to discover a new               spiral shell.
           way of silencing guns, rather than just copying              (No No. I)
,                                                                       J. Outer edge of muffling screw insert.
           older, proven designs.
.!
                                                                   32
i
II
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                                                       FIREARM SILENCERS


         K.     Muffling screw insert.
I   r"   L.
         M.
                Opening in muffling screw for bullet's passage.
                Impact surfaces of muffling screw insert.
                                                                       LJ--
         Zygmunt Wilman, 1927
             A second machine gun silencer was developed
         by Zygmunt Wilman of Paris and patented in 1927.
         The inventor asserted that all other machine gun
         silencers either didn't work or else interfered with
                                                                        Cross section, line A-A.            Detail of flap valves.
         the automatic function of the mechanism. While
         quite complicated, the Wilman design nevertheless
         was a unique technological achievement for its day.
             When the gun was fired, the bullet would pass
         through a series of open flap valves. Part of the gas
         which followed the bullet would expand into the
         rear chamber, then into the intermediate chamber
         under less pressure. The remainder of the gas

                                                                                                                                                 E.
                                                                       Cross section of Wilman silencer in the recoil-posi-
                                                                       tion.
                                                                                  E.                               8
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                                                                                       Cross section, flap valves closed.

                                                                       WILMAN SILENCER
                                                                       1. Cylindrical portion.
                                                                       2. Screw thread.
                                                                       3. Central cylinder.
                                                                       4. Gas catching baffles.
                                                                       5. Vents.
                                                                       6. Case around central cylinder.
                                                                       7. Partitions.
                                                                       8. Partition.
                                                                       (Note: No.8 also denotes screw threads on some
                                                                       drawings.)
          I))                                                          9. Screw-attached part.
                     Cross section, Wilman silencer.                   10. Spring.


                                                                  33
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                                                 FIREARM SILENCERS


     11.   Boss.                                                      "Silencers are based on the fact that the impact
     12.   Plate.                                                 of the escaping gas on the ambient air generates the
     13.   Orifice.                                               sound and that the intensity of the sound is directly
     14.   Flap valves.                                           proportional to the inertia of the outflowing gas.
     15.   Axis of flap valves.                                   By reducing the inertia the sound is deadened."
     16.   Spring to hold flap valves open.
     17.   Spring housing.
     18.   Tube.                                                                                                21
     19.   Two inner tubes.
     20.   External tubes.                                                                                      17
     21.   Orifices.                                                              ~q:::=IIl~mr-r-               20
     22.   Balls (valves).
     23.   Orifice.

     would expand while passing through orifices which
     were located parallel to the bullet's path, finally
     filling up the front chamber. At this point, the
     gases in the external chamber were supposed to                                                             10
     cause the flap valves to close.
          It isn't known why the Wilman silencer never
     went into production. Anything as complicated as
      it was (compare its patent drawings to those of the
      Fiala machine gun silencer) would necessarily be
     very expensive to make, even when production in



                                                                                                         ___
     large quantities brought the per unit cost down.
     Perhaps that cost wasn't justifiable as the world

                                                                             ~iI~-
     went into a major depression in the 1930's, or
     maybe the design was just too complicated to actu-                                                       25 2Lf
     ally work.


     Samuel Bernat, 1930
          If Wilman's silencer was overly complicated,. it                Cross section of Bernat silencer.
     had its opposite in a very simple design by Samuel
     Bernat of Czechoslovakia. Bernat's silencer con-             BERNAT SILENCER
     sisted of a series of cup-shaped disks held together         (No Nos. 1-9)
     by three metal strips. Although the invention's              10. Set of disks.
     efficiency is doubtful, at least Bernat understood           11. Muzzle of gun.
     the basics of what a silencer was supposed to do             11'. Centerline of projectile's path.
     when he wrote:                                               12. Central opening in disk.
                                                                  13 Face of base.
                                                                  14. Rear face of disks.
            19-                                                   15. Cylinder composed of central openings in
                                                                       disks.
            23                                                    16. Taper.


            10
                          o                                       17. Inward recess.
                                                                  18. Spaces.
                                                                  18'. Flow of gases in spaces.
                                                                  19. Indexing strips which hold disks in place.
                                                                  20. Inward projecting lugs~
                                                                  21. Shorter lugs.
1~
I
                                                                  22. Screws securing strips to disks.
                                                                  23. Hinge.
                  End view of Bernat silencer.                    24. Base.


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        Brooks Walker, 1948                                        BROOKS WALKER SILENCER
             World War II brought tremendous progress in           (No Nos. 1-4)
        virtually all aspects of manufacturing, from im-           5. Conventional rifle barrel.
        proved metallurgy to faster production line techni-        6. Muzzle.
        ques. It also brought major advances in the design         7. Outside of silencer.
        of military equipment of all types, including              8. Hollow body.
        literally everything from helmet straps and rations        9. Restricted bore of hollow body.
        to naval and air ordnance - and the atomic bomb.           10. Annular shoulder.
             Anned with this new technology, Brooks Wal-           11. Thick block of penetrable material, such as
        ker of California designed a new type of silencer                rubber.
        which was both sophisticated and practical. It was         12. Band of rigid material.
        also extremely simple in design. The Walker silen-         13. Annular nut.
        cer consisted of a hollow tube filled. with baffles        14. Rearward dished disks.
        just ahead of the gun's muzzle. A separate tube be-        15. Retaining bolts for disks.
        low the barrel served as an expansion chamber. The         16. Spacing sleeves on bolts, to retain disks.
        opening at the forward end of the top tube was             17. Threaded sockets for bolts.
        sealed with a thick block of penetrable material,          18. Opening in disks for projectile.
        such as pliable rubber. This block would allow the         1.9. Threaded portion.
        bullet to pass through it, then would seal back up         20. Hollow cylinder, closed at one end.
        to check the burning gases.                                21 .. Hollow body of different form of Walker
             Walker was obviously thinking much more                     silencer.
        clearly than many silencer inventors, since he             22. Restricted opening.
        noted that to truly silence a weapon the bullet            23. Flanged ring.
        would have to be propelled at subsonic speeds and          24. Restricted opening on flanged ring.
        the mechanical noise of the firing pin or hammer           25. Threaded opening.
        muffled by cushioning. An alternative to the latter        26. Hollow cylinder, closed at rear end.
        would be to fire the cartridge electrically.
    ~                                                              Cecil P. Caulkins, 1949
I
                                                                        One of the most unusual silen·cer designs which
                                                                   could be considered at all practical was that of
                                                                   Cecil P. Caulkins. Rather than using a standard,
                                                                   rigid tube assembly, Caulkins used a circle con-
                                                                   structed of wires strung longitudinally to form a
             Cross section of Brooks Walker silencer.              flexible, sectioned cylinder. When a gun equipped
                                                                   with such a device is fired, pressure from the
                                                                   expanding powder gases forces the cylinder to
                                                                   bulge, parting the wires. An added bonus is the
                                                                   effect the wires would have on muzzle flash, which
                                                                   would be very effectively broken up by having to
                    Sectional view on line 2-2.                    pass between the wires.
                                                                        Due to the current status of firearm silencers,
                                                                   the inventor actually touted this silencer as an in-
                                                                   dustrial muffler, particularly on internal combus-
                                                                   tion engines. The constant vibration of the wires
                                                                   would undoubtedly prevent carbon build-up very
                  End view, looking down bore.                     well.




                                                                             13
         Cross section, different style of Walker silencer.        Caulkins silencer mounted on rifle.    Section 3-3.


                                                              35
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                                                                     51               A                         30    58   56
                               14:-                               Cross section, engine modification.
Cross section, silencer with shroud.   Section 4-4.
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                                                                              5.JO:;~~·:~                        56


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                                                                                      '   •   .;.....",:;::>'




          Caulkins silencer in operation.                                                 -l
                                                                                          1/ I
                                                                    End view, engine modification.
                                                                                                                31




                                                                          3


             Modified Caulkins silencer.                                  Modified engine model.
                              40
                                                           CAULKINS SILENCER
                                                           (No Nos. 1-9)
                                                           10. Inner head.
6                                                          11. Bore.
1                                                          12. Longitudinal split ..
                                                           13. Gun barrel.
                                                           14. Securing screws.
                                                           15. Forward portion of head.
                Side view of above.                        16. Annular groove.
                                                           17. Collars.
                                                           18. Optional shroud.
                                                           (No No. 19)
                                                           20. Outer, movable head.
                                                           20a. Head.
                        13
                                                           20b. Imperforate, movable head.
                                                           21. Bore.
     Detail of Caulkins silencer construction.             22. Inner portion of head.
                                                           23. Annular groove.
                                                           24. Rounded corners.
                                                           25. Collar.
                                                           26. Perforations.
                                                           (No Nos. 27-29)
                                                           30. Parallel resilient members.
                                                           30a. Members bent outward under gas pressure.
                                                           30b. Parallel members.
         Partial section, modified model.                  30c. Parallel resilient members.


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          31. Ends bent inward.                                        have included the entire text of Jarrett's patent
          (No Nos. 32-39)                                              application at the end of this chapter.
          40. Shroud.
          41. Annular area.
          42. Slots.
          (No Nos. 43·49)
          50. Head.
          51. Ring.
          52. Exhaust pipe.
          53. Outer shroud welded to pipe.
          54. Open outer end of shroud.                                Cross section, Jerrett Noise Reducer built into
          55. Imperforate circular disk.                               barrel.
          56. Radial arms on disk.
          57. Cylindrical collar.
          58. Sliding ring.

          William J. Jarrett
              Until Mr. Jarrett began his experimentation, all
          work with silencers had been aimed at quieting the
          report of the weapon by slowing down, spinning or            Same view as above, but with projectile leaving
          breaking up the escaping gases which caused the air          muzzle.
          turbulence we think of as the sound of a shot. Mr.
          Jarrett approached the problem with the idea of
          elevating the frequency of the sound beyond the
          range of human hearing. This type of silencer
          would be quite simple to manufacture and is rather
i~        easily mounted on military type rifles.
              Although the inventor stressed the possible in-
          dustrial application of a silencer which changes the          Muzzle view.
          frequency of sound waves, it should be approached
          with caution since an   "overdose" of high frequency
          waves can be injurious to the health. We said in
          the chapter on how silencers work that if there is
          no one to hear it, there is no sound. While this is
          true for all practical purposes, that statement could
          be misleading when dealing with sound waves that                                          Perspective view.
          exceed 20,000 cycles per second or so. In that
          case, we can't hear the sound, but it is still there.
          The human ear just doesn't have the frequency
          range to pick it up. "Silent" dog whistles are a
          good example. We can't hear them, but dogs                   JARRETT NOISE REDUCER
          can, therefore they obviously make a sound.                  (No Nos. 1-11, 13, 17, 19, 21-23, 25, 29,31,32)
              In the form of the altered report of a firearm,          12. Gun.
          the high frequency sound waves probably wouldn't             14. Gun barrel.
          be injurious since they would last for only a                15. Projectile.
          few milliseconds. But in the case of industrial use,         16. Barrel extension.
          people would be subjected to them for the entire             18. Body of noise reducer.
          work day, five days a week. This could quickly               20. Securing nut.
          result in a large absenteeism record due to both             24. First chamber.

I

    ,.,   physical and mental illnesses which would be hard
          to diagnose. Yet these "psychosomatic " illnesses
          would have a very real, if untraceable, cause.
               Since we feel that it would be of interest to
          any serious student of firearm silencer design, we
                                                                       26. Axial aperture.
                                                                       27. Annular flange.
                                                                       28. Second chamber.
                                                                       30. Opposed mouth portions.
                                                                       33. Curved, annular surfaces.


                                                                  37
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                                                  FIREARM SILENCERS



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I   •
                                                                    for expediting political kidnappings. Obtained
                                                                    through illegal channels, it's also a favorite weapon
                                                                    of the Cocaine Cowboys who have recently inYaded
                                                                    Florida.
        Tubes for Sionics MAC 10 silencer. The larger tube              The Sionics units were originally manufactured
        is to the rear of the assembled unit.                       by Military Armament Corporation (MAC), then
                                                                    by RPB Industries. At this writing, they are manu-
                                                                    factured by SWD, Inc., of Atlanta. In addition to
                                                                    the MAC 10, they are also available for the Charter
                                                                    Arms AR-7 and Explorer II, as well as various
                                                                    other weapons. The unit shown in the accompany-
                                                                    ing photos was assembled from a Sionics kit by a
                                                                    licensed Class II manufacturer.




        Although overall size (particularly interior volume)
        and the length to diameter ratio must be considered
        in silencer design, the interior components are the
        most important factor in determining how well a
        silencer works. Shown above are the parts for a
        Sionics MAC 10 unit.
                                                                    Finished Sionics silencer on a semi-auto MAC 10,
        Gen. Mitchell WerBell                                       complete with handguard.
            The state-of-the-art silencers for the 1970's
        were the Sionics units designed by Gen. Mitch Wer-
        Bell, a man whose life story reads more like an un-
        believable movie script than reality. Probably the
        most famous of the Sionics silencers is the one
        which is mated to the Ingram MAC 10. Although
        well known in claridestine circles for some time
        before that, it first received wide public recogni-
        tion via Hollywood in the early 1970's. In McQ,
        John Wayne used a suppressed MAC 10 to wipe
        out a gang of nasties in what had to be one of film-
        land's greatest firefights. There was no doubt, of
        course, that Duke would come out on top, but he
        certainly gave audiences some exciting moments
        before the last magazine was emptied into the bad
        guys.
            In real life, the MAC 10 isn't particularly well        Exploded view of MAC 10 silencer as designed by
        suited to what we think of as the standard SMG              Gen. Mitchell WerBell. The MAC 10/Sionics com-
        role. But it is ideally suited for certain purposes         bination is extremely popular among clandestine
        such as close quarters assassinations and firepower         operatives.




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    United States Patent Office                                                                                   2,868,078
                                                                                                 P,,,,,"nted Jan. 13, 1959

                                 1                                                                2
                                                                          It is an object of my invention to produce a light com.
                                                                       pact device to reduce the audible noise of discharge of
                              2,868,078                                a machine operated by a gas having a high acoustic
                                                                      velocity.
                N05EREDUCERFORGUN
                                                                II        Another object of my invention is to provide a noise
   William J. Jarrett, Springfield, Mass., assignor to the             reducer to limit the audible noise of discharge of a gun.
    United States of America as represented by the Secre·                 A further ohject of my invention is to provide a noise
    tary of the Army                                                   reducer to limit the sonic vibrations in the gas emitted
       Application Jannary 11, 1956, Serial No. 558,593                from a gun.
                                                               10         A still further object of my invention is to !'rovide a
                     1 Claim. (CI. 89-14)                             gun with a device including a discharge gas chamber and
                                                                       ports therein for escape of gases from the gun at super-
      (Granted under Tide 35, U. S. Code (1952), sec. 266)
                                                                      sonic frequencies of vibration.
                                                                          Yet a further object of my invention is to provide a
                                                              16      gun with a barrel extension including an entry cham her
      The invention described herein may be manufactured              for leakage of discharge gases around a projectile, an
   and used by or for the Government for governmental                 exit chamber having substantially the bore of the gun
   purposes without the payment of any royalty thereon.               and an intermediate chamber having a bore greater than
      My invention relates to guns and more particularly to           the bores of the entry and exit chambers, and gas e1(-
   a device therefor for reducing the audible noise of dis. 20        haust ports.
   charge of the guns.                                                   Other aims and objects of my invention will appeur
      The velocity of sound from the discharge of a cartridge         from the following explanation thereof.
   is represented by the equation:                                       In carrying out my invention a harrel extension 1'""
                         V=(gKRT)I!2                                  attachment to a gun includes an apetture with a pluralilY
                                                               25     of chambers including an entry chamher with a bore
   where V=the velocity of sonic propagation in propellant
                                                                     substantially larger than the diameter of a projectile for
   gas in feet per second, g=the gravitational constant 32.2
                                                                      leakage of gases therearound. an intermediate chamher
   foot pounds per second per second, R=the univel sal gas
                                                                      having ports with sharp edges for escape of di'l'har)!e
   constant (119), and T =the temperature in degree centi-
                                                                      gases therefrom, and an exit chamber with a "ore ""h·
   grade.
                                                               30     stantially equal to the bore of the gun barrel. The inler-
      If the process is assumed to be adiabatic with K= 1.246,
                                                                      mediate chamber is provided with a bore greatcr than
   the value of V is expressed by                                     the bores of the entry and exit chamhers and a lenglh
               V=(32.2 X 1.246 X 119 X 1547)1/ 2                      required to resonate supersonic vihratiOns.
               V=2700 F. P. S.                                           For a more complete understanding of my invcnlion.
     The barrel of a gun is a tube or pipe with a closed 35          reference is directed to the follG\' :'ig dcscription and th.:
   end having the source of vibration disposed at the open            accompanying drawing in which:
   end since the vibrations are set up as the gases leave                Fig. I is an elevation. partly in section of a portion of
   the barre\. The equation of the fundamental frequency             a gun incorporating an embodiment of my invention, wilh
   of resonance of the tube is /. in cycles per second.              the projectile about to enter the intermediatc chambn:
                                                           40            Fig. 2 is a view similar to Fig. I with Ihc pnwclite
                                  4·l                                leaving the gun;
                          f=(2n+l)                                       Fig. 3 is a muzzle end view of the barrel extension: and
                          f=~n+l).V                                      Fig. 4 is a perspective view of the barrcl extension.
                                     4·l                                 Accordingly, a gun 12 having a barrel 14 for di'chal gc
                                                            45       of projectiles 15 therethrough is provided wilh a barrel
     The barrels of usual firearms vary from two inches for          extension 16 having a body 18 secured to gun 12 hy a
   a pistol to 36 inches for a rifle, therefore.                     nut 20.
                f _3X2700                                                Body 18 is provided with a first chamber 24 and a
                 -       2                                           second chamber 2S of larger diameter extcnding for-
                     4 X 12                                    50    wardly therefrom. The front end of second chamhcr 211
                                                                     is terminated by an annular flange 27 through which
                 = 12,080 C. P. S. for 2" barrel                     there is provided an axial aperture 26.
                f=3X2700                                                 Front chamber 24 is disposed immediately forward
                     4X36                                            of the muzzle end of barrel 14 and has a diameter slighlly
                       12                                      55    larger than that of the projectiles 15 so that some of Ihc
                   =675 C. P. S. for 36" barrel                      gases propelling the projectiles forwardly may escape
                                                                     thereby into second chamber 2S before the entry of thc
      The fundamental frequency, therefore, varies roughly           projectiles thereinto. Second cham her 28 has a prcdc-
   between frequencies of 675 and 12.0g0 cycles per second           termined length and extending laterally from Ihe fnlilt
   which are within the sonic range.                           GO    end thereof is a pair of diametrically opposed mouth r"l-
      Since the whole amount of discharged gas escapes               tions 30. The outside of body IS, immediately f,'rw,,,d
   from the gun to the atmosphere, the volume of sound               of the mouth portions 30. is cut llway to form arl'uale
   Ihus created often causes distress to people confined in          surfaces 33 concentric to body IS with such surface, ha\,-
   u dosed space with a gun being fired, and in the open,            ing a radius slightly smaller than that of second chamber
   permits the discharge of the gun to be heard at greut ,;:, 28. The junctions of the annular ~l1rfaces 33 wilh the
   di,tances to disclose the location of the gun.                 inside face of flange 27 form a right angular edge 32
      Silencers for guns have been developed but the silencers    which lies in the path of the gases expellcd forwardly
   now existing are heavy, cumbersome attachments for the         from second chamber 2S to cause the discharge gases to
   barrels with chambers and labyrinths or the like for re-       vibrate in the same manner as the passage thereof t1lT<lllgh
   ducing the pressure of the discharged gases from the iO a whistle. The frequencies of the vibrations arc deter-
   guns, and ports to increase the area of discharge of the       mined by the length of second chamber 28 and, there-
   gases from the barrels_ .                                      fore, the length of such chamber is predetermined as .8



                                                             39
Case 4:14-cv-00019 Document 23-6 Filed on 09/18/15 in TXSD Page 156 of 203
                                               FIREARM SILENCERS


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    inch. Whereby, as hereinafter explained, the frequency          entry chamber 24 determines the degree of the attenua-
    at which the discharge gases vibrate is above the limit          tion.
   of human audibility. Aperture 26 has a diameter approxi-             Although a particular embodiment of the invention
    mately the same as that of projectiles 15 so that when           has been described in detail herein, it is evident that
   ,uch projectilcs are passing therethrough the discharge ;; many variations may be devised within the spirit and
   g:I'CS are directed entirely out through the mouth 30.           scope thereof and the following claim is intended to
       The value of f, the frequency of vibration in the gas         include such variations.
   discharged from a closed pipe is expressed by                        I claim:
                                   V                                    An attachment for the muzzle end of a firearm barrel
                               f=4./                            J" to reduce the noise produced by the discharge of gases
                                                                    therefrom, said attachment including the combination of
   '" here f =.:ycles per ~econd, V=the velocity of sonic           a body provided with a chamber having a diameter larger
   propagation in air in feet per second, and I=the length          than that of the bore of the barrel, an annular flange
   of the pipe in feet.                                             provided with a rear face and disposed at the front end
       The frequency of sound in the gases escaping from ports 15 of said chamber, said flange having an aperture there-
   30 in cycles per second with a chamber length of .R inch.        through in axial alignment with the barrel, a pair of
   therefore, is                                                    muuth portions extending radially outward from said
                                                                    chamber rearwardly of said flange for the discharge of
                        f=nV                                        the gases, cutout. portions extending forwardly in said
                           2·/                                 20 body from said mouth portions, arcuate surfaces formed
                            2700                                    on said flange by said cutout portions, arcuate edges
                         = 2XO.S                                    formed at the junctions of said arcuate surfaces with said
                                12                                  rear face, said arcuate surfaces having a radius smaller
                         =20,OOO+C. P.  s.                          than that of said chamber to locate said edges in the
                                                               25 forward path of the gases to set up vibrations therein
       I hi~ frequency is supersonic since the upper limit of       when discharged through said mouth portions, and said
   human audibility is conceded to be 20,000 cycles per sec-        chamber having a predetermined length for producing
   end.                                                             the vibrations at a frequency higher than that of audible
       A portiun of the gas traversing the exit chamber behind      sound.
   the projectile of course, still vibrates in the sonic range ;;.)
                                                                              Refereoces Cited in the file of this patent
   blll. in a model tested in an inclosed range tbe noise of
   the gun was considerably reduced.                                              UNITED STATES PATENTS
      The cases are attenuated by leakage around the pro-              1.143,814     De Vries _______________ June 22, 1915
   jectiles in entry chamber 24 to reduce the diameter of
                                                                                       FOREIGN PATENTS
   intermediate chamber 28 reqllired for escape of the 35
   ga,es and to reduce the intensity of noise in the gases               314,842     Germany ______________ Nov. 29, 1917
   traversing chamber 26. The diameter and length of                     270,629     Italy ___________ .. ______ Jan. 15, 1930




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~    The M-14 Rifle ............................................................... Order No. 015 ............. $7.95
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     The Browning HI-Power Pistols .................................. Order No. 125 ............. $9.00
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     Take My Gun If You Dare ............................................. Order No.                      551 ........... $10.95

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     American Underground ............................................... Order No.                       110 ........... $10.00
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r'   Poor Man's James Bond Vol. 1 ................................... Order No.                           C-65 ......... $21.95
,    Poor Man's James Bond Vol. 2 ................................... Order No.                           C372 ........ $24.95
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          Volume 3 ............................................................. Order No.                225 ........... $18.95
                                    (fULL-AUTOCONVEflt§JII"A/4NUALS)
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     Vol. 2 UZI Modification Manual ................................... Order                    No.      036 ............. $7.00
     Vol. 3 Mac-10 Modification Manual ............................. Order                       No.      010 ............. $7.00
     Vol. 4 Thompson SMG Modification Man ................... Order                              No.      027 ............. $7.00
     Vol. 5 M1 Carbine Modification Manual. ..................... Order                          No.      130 ............. $7.00
     Vol. 7 Bingham AK-22 Modification Man ................... Order                             No.      022 ............. $7.00
     Vol. 8 M14A1 & Mini-14 Mod Man ............................... Order                        No.      114 ............. $7.00
     Select Fire 10/22 ........................................................... Order         No.      229 ........... $10.00
     Selective Fire UZI Modification Manual ..................... Order                          No.      004 ........... $10.00
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 1                           State's Exhibit No. 46

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      1                           State's Exhibit No. 62

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       1                           State's Exhibit No. 63

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       4      S-63: Tubing

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           1                           State's Exhibit No. 64
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           4      S-64: Aluminnum ribbon

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 4      S-65: Aluminum shavings

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        1                           State's Exhibit No. 66
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        4      S-66: Steel wool

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     1                           State's Exhibit No. 67
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     4      S-67: Aluminum chips

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      1                           State's Exhibit No. 68
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      4      S-68: Metal shavings

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                                     State's Exhibit No. 69



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         4      S-69: Box

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             1                           State's Exhibit No. 69A

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             4      S-69A: GTE cellular phone

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